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                      EXHIBIT “B”
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                                     90




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   ZEPHERINE MILLER,                              §
                                                  §
          Plaintiff,                              §
                                                  §
   v.                                             §      No. 1:23-cv-02620-MEH
                                                  §
   NATIONAL CREDIT SYSTEMS, INC.,                 §
                                                  §
          Defendant.                              §




                       DECLARATION OF JOHN W. BOWDICH
                         ATTORNEY FOR DEFENDANT NCS


          1.      My name is John W. Bowdich. Pursuant to 28 U.S.C. § 1746, I declare

   under penalty of perjury that I am fully competent to provide this Declaration and

   the foregoing statements are true and correct, and within my personal knowledge as

   an attorney representing Defendant National Credit Systems, Inc. (“NCS”) in the

   above-referenced litigation.

          2.      As the Court can take Judicial Notice of judicial proceedings and based

   on the documents produced by Plaintiff in the above-referenced litigation (all of

   which have a bates label “MILLERxxx”), on December 29, 2021, Zepherine Miller

   (“Plaintiff” or “Miller”) filed a Class Action Complaint against The Connor Group,

   a Real Estate Investment Firm, LLC (“TCG”) in the District Court for the City and

   County of Denver, State of Colorado styled Case No.: 2021CV34094, Division 275,

   Zepherine Miller, an individual, on behalf of herself and all others similarly situated v. The



   DECLARATION OF JOHN W. BOWDICH                                                     Page 1 of 4
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   Connor Group, a Real Estate Investment Firm, LLC d/b/a The Connor Group alleging

   violations of the Colorado Rental Application Fairness Act and seeking a declaratory

   judgment that Ms. Miller was not liable under a Lease with TCG for an apartment at

   Alas Over Lowry Apartments (the “State Court Lawsuit”).

         3.      After months of litigation, without admitting any liability and solely to

   prevent additional litigation costs, TCG, through its attorneys, Greenberg Traurig,

   LLP (“GT Law”) made an Offer of Judgment to Ms. Miller and her attorney, Dan

   Vedra, to resolve the State Court Litigation. Mr. Vedra communicated to GT Law

   that Ms. Miller accepted the Offer of Judgment on January 4, 2023. A true and

   correct copy of the Offer of Judgment and Ms. Miller’s acceptance are attached

   hereto as Exhibit “B-1.” As a result, TCG and Ms. Miller entered into an agreed

   Order of Judgment (the “Judgment”), a true and correct copy of which is attached

   hereto as Exhibit “B-2.”

         4.      Thereafter Dan Vedra communicated with TCG’s attorneys, GT Law,

   regarding various aspects of the conclusion of State Court Litigation, including the

   following emails:

              • Feb. 20, 2023: Emails whereby Dan Vedra sought an extension of time
                for Mr. Vedra to file a motion for fees, a true and correct copy of which
                is attached as Exhibit “B-3.”

              • Mar. 23, 2023: Emails whereby Dan Vedra agreed to extend the time
                for TCG’s response brief to the motion for fees so long as TCG
                confirmed to pay the $1,781 damage award in the Judgment directly to
                Ms. Miller, a true and correct copy of which is attached as Exhibit “B-
                4.”



   DECLARATION OF JOHN W. BOWDICH                                               Page 2 of 4
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              • Apr. 18, 2023: Emails whereby Dan Vedra sought an extension of time
                for Mr. Vedra to file a reply brief to the motion for fees, a true and
                correct copy of which is attached as Exhibit “B-5.”

              • Jun. 12, 2023: Emails whereby Dan Vedra sought payment of the
                attorneys’ fees and costs awarded to be made payable to his law firm
                rather than Ms. Miller, a true and correct copy of which is attached as
                Exhibit “B-6.”

              • Jun. 27, 2023: Emails whereby Dan Vedra agreed to notarize and file
                the satisfaction of judgment, a true and correct copy of which is
                attached as Exhibit “B-7.”

   None of those emails from February, 2023 to June, 2023, nor in any documents

   produced by Plaintiff in the above-referenced litigation, did Ms. Miller’s attorney,

   Mr. Vedra, indicate to GT Law that the debt extinguished by the Judgment was

   being collected by TCG or any collection agency on behalf of TCG. In fact, quite

   the opposite, as Ms. Miller, by Mr. Vedra, filed a Satisfaction of Judgment. A true

   and correct copy of the Satisfaction of Judgment filed July 7, 2023 is attached hereto

   as Exhibit “B-8.”

         5.      All of the Exhibits referenced herein were produced by Plaintiff in this

   litigation, responsive to various requests for production, including NCS’s Requests

   for Production Nos. 2 and 3 which requested:




         6.      In addition, attached as Exhibit “B-9” are Plaintiff’s responses to

   Requests for Admission whereby Plaintiff attempted to evade direct admissions that


   DECLARATION OF JOHN W. BOWDICH                                              Page 3 of 4
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   Plaintiff and her attorney failed to inform TCG and GT Law regarding the issue

   whether NCS continued to collect on the underlying debt by furnishing information

   to the consumer reporting agencies regarding the debt.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed in Dallas, Texas on August 29, 2024.



                                    By:    s/ John W. Bowdich
                                           John W. Bowdich
                                           Attorney for NCS




   DECLARATION OF JOHN W. BOWDICH                                                Page 4 of 4
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                    EXHIBIT “B-1”
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                                     90




     DISTRICT COURT, CITY AND COUNTY OF
     DENVER, STATE OF COLORADO
     1437 Bannock Street, Room 256
     Denver, CO 80202
     303-606-2300

     ZEPHERINE MILLER, an individual, on behalf of
     herself and all others similarly situated,

     Plaintiff,
                                                                 ▲ COURT USE ONLY ▲
     v.                                                       _________________________

     THE CONNOR GROUP, A REAL ESTATE                          Case Number: 2021CV34094
     INVESTMENT FIRM, LLC d/b/a THE CONNOR
     GROUP, an Ohio limited liability company,                Division: 275

     Defendant.

     Attorneys for Defendant:
     Lindsay N. Aherne, #48391
     Naomi Beer, #29144
     Greenberg Traurig LLP
     1144 15th Street, Suite 3300
     Denver, Colorado 80202
     Telephone: (303) 572-6500
     Facsimile: (303) 572-6540
     ahernel@gtlaw.com
     beern@gtlaw.com

     Gregory E. Ostfeld
     Greenberg Traurig LLP
     77 West Wacker Drive, Suite 3100
     Chicago, IL 60601
     Telephone: (312) 476-5056
     Facsimile: (312) 899-0420
     OstfeldG@gtlaw.com.

                            DEFENDANT’S OFFER OF JUDGMENT

   TO:    Zepherine Miller

          Pursuant to C.R.S. § 13-17-202, Defendant The Connor Group, a Real Estate Investment
   Firm, LLC d/b/a The Connor Group (“Defendant”) by and through its counsel, the law firm of
   Greenberg Traurig, LLP, hereby offers to have judgment entered in favor of Plaintiff Zepherine




                                                                                                MILLER02121
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   Miller (“Plaintiff”) against Defendant, in the total amount of ONE THOUSAND SEVEN
   HUNDRED AND EIGHTY ONE DOLLARS and 00/100 ($1,781.00), which is inclusive of all
   damages (statutory and actual damages) sought by Plaintiff in the above captioned action. In
   addition to the foregoing damages, the judgment shall also include the amount of pre-offer
   interest and Plaintiff’s reasonable costs and attorneys’ fees (an amount to be determined by the
   Court upon acceptance of this offer) that are recoverable under C.R.S. § 13-17-202 (the statute
   governing offers of judgment), the Colorado Consumer Protection Act, C.R.S. § 6-1-101 et seq.,
   and the Colorado Rental Application Fairness Act, C.R.S. § 38-12-901 et seq. The judgment
   would also declare that “Plaintiff is not obligated to Defendant under the subject lease agreement
   and the lease agreement is void.”

           If this offer is accepted, it becomes a settlement agreement that achieves a full and
   complete satisfaction of all issues and claims asserted against Defendant by Plaintiff. This offer
   of judgment is made for the purposes specified in C.R.S. § 13-17-202 and is made only as a
   compromise. Evidence of this offer is not admissible except in a proceeding to determine costs
   and attorney’s fees, if appropriate, and is not to be construed as an admission of any kind.
   Defendant does not waive any claims or defenses by virtue of making this offer of judgment.

           This offer shall remain open for fourteen (14) days from the date of service and shall be
   deemed rejected and withdrawn if not accepted by Plaintiff within that time. If this offer of
   judgment is not accepted, Defendant will seek to enforce all of the rights and remedies arising
   out of such a failure to accept, as provided in C.R.S. § 13-17-202.

          Respectfully submitted this 21st day of December, 2022.

                                                GREENBERG TRAURIG LLP

                                                s/ Lindsay N. Aherne
                                                   Lindsay N. Aherne, #48391

                                                Attorneys for Defendant The Connor Group, a Real
                                                Estate Investment Firm, LLC d/b/a The Connor
                                                Group

                                                (Original on file at offices of Greenberg Traurig LLP, pursuant to
                                                C.R.C.P. 121, § 1-26)




                                                    2

                                                                                                                     MILLER02122
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                                     90




                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 21st day of December, 2022, a true and accurate copy of the
   foregoing were served to the following individuals via email:

   Daniel J. Vedra, Atty. Reg. #43596
   Vedra Law LLC
   1444 Blake Street
   Denver, CO 80202
   dan@vedralaw.com

   Phillip Robinson, Md. Atty. Reg. #0006210356
   Admitted Pro Hac Vice
   Consumer Law Center LLC
   10125 Colesville Road, Suite 378
   Silver Spring, MD 20901
   phillip@marylandconsumer.com

   Attorneys for Plaintiff

                                                      s/ Lindsay N. Aherne
                                                      Lindsay N. Aherne

                                                      (Original on file at offices of Greenberg Traurig LLP,
                                                      pursuant to C.R.C.P. 121, § 1-26)




                                                  3

                                                                                                         MILLER02123
Case No. 1:23-cv-02620-NYW-MEH Document 46-3 filed 09/24/24 USDC Colorado pg 10
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  From:                        Daniel J. Vedra
  Sent:                        1/4/2023 10:35:54 AM
  To:                          ahernel@gtlaw.com; phillip@marylandconsumer.com
  Cc:                          OstfeldG@gtlaw.com; BeerN@gtlaw.com
  Subject:                     RE: Offer of Judgment - Rule 408 communication - Miller v Connor Group


  Lindsay,

  Ms. Miller accepts the offer of judgment. Please send a proposed judgment for our review. I assume
  that we will brief the issue of fees 14 days after entry of the judgment against your client.

  Dan




  1444 Blake Street
  Denver, CO 80202

  Direct: (303) 937-6540
  Fax: (303) 937-6547



  From: ahernel@gtlaw.com <ahernel@gtlaw.com>
  Sent: Wednesday, December 21, 2022 7:07 PM
  To: dan@vedralaw.com; phillip@marylandconsumer.com
  Cc: OstfeldG@gtlaw.com; BeerN@gtlaw.com
  Subject: Offer of Judgment - Rule 408 communication - Miller v Connor Group

  Dan and Phillip,

  I have attached a statutory offer of judgment from the Connor Group.

  Please be sure to include my colleagues (CCd) on any response / future correspondence to me as I will
  soon be out on parental leave.

  Thank you,
  Lindsay Aherne
  Associate

  Greenberg Traurig, LLP
  1144 15th Street, Suite 3300 | Denver, Colorado 80202
  Office +1 303.572.6508 | Cell +1 303.847.5050 | Fax +1 720.904.7608
  ahernel@gtlaw.com | www.gtlaw.com | View GT Biography




                                                                                                          MILLER02019
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  information.




                                                                                                          MILLER02020
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                   EXHIBIT “B-2”
Case No. 1:23-cv-02620-NYW-MEH Document 46-3 filed 09/24/24 USDC Colorado pg 13
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       DISTRICT COURT, CITY AND COUNTY OF
       DENVER, STATE OF COLORADO
       1437 Bannock Street, Room 256                        DATE FILED: January 30, 2023 6:16 PM
       Denver, CO 80202                                     CASE NUMBER: 2021CV34094
       303-606-2300
       ZEPHERINE MILLER, an individual, on behalf of
       herself and all others similarly situated,

       Plaintiff,

       v.                                                          ▲ COURT USE ONLY ▲
                                                                _________________________
       THE CONNOR GROUP, A REAL ESTATE
       INVESTMENT FIRM, LLC d/b/a THE CONNOR                    Case Number: 2021CV34094
       GROUP, an Ohio limited liability company,
                                                                Courtroom: 275
       Defendant.


                        ORDER OF JUDGMENT AGAINST DEFENDANT

  On January 4, 2023, Plaintiff Zepherine Miller timely accepted an offer of judgment made by
  Defendant The Connor Group, A Real Estate Investment Firm, LLC d/b/a The Connor Group
  pursuant to C.R.S. § 13-17-202 to have judgment entered in favor Plaintiff. Accordingly, IT IS
  ORDERED THAT:

  1.      Judgment is entered in favor of Zepherine Miller and against The Connor Group, A Real
  Estate Investment Firm, LLC d/b/a The Connor Group in the amount of One Thousand Seven
  Hundred and Eighty-One Dollars ($1,781.00) together with pre-judgment interest in the amount
  of $308.20;

  2.     In accordance with C.R.C.P. 121 § 1-22(2), within 21 days of entry of this Order, Zepherine
  Miller may submit a bill of costs, and a motion for reasonable attorneys’ fees recoverable under
  C.R.S. § 13-17-202, the Colorado Consumer Protection Act, C.R.S. § 6-1-101 et seq., and the
  Colorado Rental Application Fairness Act, C.R.S. § 38-12-901 et seq.; and

  3.    The Court declares that Plaintiff is not obligated to Defendant under the subject lease
  agreement and the lease agreement is void.

  4.        All future dates in this case are hereby VACATED.

  DATED AND ORDERED January 30, 2023.                 BY THE COURT:

                                                      _____________________________
                                                      Kandace C. Gerdes
                                                      District Court Judge




                                                                                                   MILLER01017
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                   EXHIBIT “B-3”
Case No. 1:23-cv-02620-NYW-MEH Document 46-3 filed 09/24/24 USDC Colorado pg 15
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  From:                     Elayna.Fiene@gtlaw.com
  Sent:                     2/20/2023 10:28:54 AM
  To:                       dan@vedralaw.com; OstfeldG@gtlaw.com; BeerN@gtlaw.com
  Cc:                       phillip@marylandconsumer.com
  Subject:                  RE: Miller EOT on Fees


  Hi Dan,

  We do not oppose, provided you are willing to include in your motion an indication that we will have the
  standard 21 days to respond to your motion once it is filed?

  Thank you,
  Elayna

  Elayna Fiene
  Of Counsel

  Greenberg Traurig, LLP
  1144 15th Street, Suite 3300 | Denver, Colorado 80202
  T +1 303.572.6528
  Elayna.Fiene@gtlaw.com | www.gtlaw.com | View GT Biography




  From: Daniel J. Vedra <dan@vedralaw.com>
  Sent: Monday, February 20, 2023 9:03 AM
  To: Fiene, Elayna (OfCnl-DEN-LT) <Elayna.Fiene@gtlaw.com>; Ostfeld, Gregory E. (Shld-Chi-LT)
  <OstfeldG@gtlaw.com>; Beer, Naomi (Shld-Den-LT-Labor-EmpLaw) <BeerN@gtlaw.com>
  Cc: Phillip Robinson <phillip@marylandconsumer.com>
  Subject: Miller EOT on Fees

  *EXTERNAL TO GT*

  Counsel:

  I had a couple of time sensitive matters pop up during the last two weeks that has delayed me in
  drafting the motion for fees and bill of costs. Do you oppose a two week extension?

  Thank you,

  Dan


  --

  Vedra Law LLC
  1444 Blake Street
  Denver, CO 80202




                                                                                                        MILLER02070
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                                    of 90



  Direct: (303) 937-6540
  Fax: (303) 937-6547

  vedralaw.com

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  marketing or recommending to another party any transaction or tax-related matter addressed herein.



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                                                                                                          MILLER02071
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                   EXHIBIT “B-4”
Case No. 1:23-cv-02620-NYW-MEH Document 46-3 filed 09/24/24 USDC Colorado pg 18
                                    of 90




  From:                     Elayna.Fiene@gtlaw.com
  Sent:                     3/23/2023 9:02:53 PM
  To:                       dan@vedralaw.com; OstfeldG@gtlaw.com; BeerN@gtlaw.com
  Cc:                       phillip@marylandconsumer.com
  Subject:                  RE: Miller EOT on Fees


  Thank you. We’ve provided this address to our client and will let you know when payment has been
  sent.

  Elayna Fiene
  Of Counsel

  Greenberg Traurig, LLP
  1144 15th Street, Suite 3300 | Denver, Colorado 80202
  T +1 303.572.6528
  Elayna.Fiene@gtlaw.com | www.gtlaw.com | View GT Biography




  From: Daniel J. Vedra <dan@vedralaw.com>
  Sent: Thursday, March 23, 2023 3:06 PM
  To: Fiene, Elayna (OfCnl-DEN-LT) <Elayna.Fiene@gtlaw.com>; Ostfeld, Gregory E. (Shld-Chi-LT)
  <OstfeldG@gtlaw.com>; Beer, Naomi (Shld-Den-LT-Labor-EmpLaw) <BeerN@gtlaw.com>
  Cc: phillip@marylandconsumer.com
  Subject: RE: Miller EOT on Fees

  Yes. Please pay it directly to Ms. Miller at:

  14078 NE 4th Street
  Choctaw, OK 73020




  1444 Blake Street
  Denver, CO 80202

  Direct: (303) 937-6540
  Fax: (303) 937-6547



  From: Elayna.Fiene@gtlaw.com <Elayna.Fiene@gtlaw.com>
  Sent: Thursday, March 23, 2023 3:02 PM
  To: dan@vedralaw.com; OstfeldG@gtlaw.com; BeerN@gtlaw.com
  Cc: phillip@marylandconsumer.com
  Subject: RE: Miller EOT on Fees




                                                                                                     MILLER02085
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  Hi Dan,

  I assume that your email below is requesting that our client pay the agreed-upon judgment amount of
  $1,781 in exchange for your agreement to our requested extension. If that is the case, we will agree.
  Please confirm, and also provide us with payment instructions. We will file an unopposed motion for the
  extension before the weekend.

  Thank you,
  Elayna

  Elayna Fiene
  Of Counsel

  Greenberg Traurig, LLP
  1144 15th Street, Suite 3300 | Denver, Colorado 80202
  T +1 303.572.6528
  Elayna.Fiene@gtlaw.com | www.gtlaw.com | View GT Biography




  From: Daniel J. Vedra <dan@vedralaw.com>
  Sent: Thursday, March 23, 2023 1:32 PM
  To: Fiene, Elayna (OfCnl-DEN-LT) <Elayna.Fiene@gtlaw.com>; Ostfeld, Gregory E. (Shld-Chi-LT)
  <OstfeldG@gtlaw.com>; Beer, Naomi (Shld-Den-LT-Labor-EmpLaw) <BeerN@gtlaw.com>
  Cc: phillip@marylandconsumer.com
  Subject: RE: Miller EOT on Fees

  Is your client willing to pay the judgment against it to Ms. Miller without prejudice to our right to
  continue seeking fees?




  1444 Blake Street
  Denver, CO 80202

  Direct: (303) 937-6540
  Fax: (303) 937-6547



  From: Elayna.Fiene@gtlaw.com <Elayna.Fiene@gtlaw.com>
  Sent: Thursday, March 23, 2023 10:14 AM
  To: dan@vedralaw.com; OstfeldG@gtlaw.com; BeerN@gtlaw.com
  Cc: phillip@marylandconsumer.com
  Subject: RE: Miller EOT on Fees

  Dan,




                                                                                                          MILLER02086
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  We have been a bit buried over here. Would you oppose an extension of two weeks for our client’s
  responses to your motion for fees and bill of costs? I believe that the new deadline would be April 11,
  2023.

  Thank you,
  Elayna

  Elayna Fiene
  Of Counsel

  Greenberg Traurig, LLP
  1144 15th Street, Suite 3300 | Denver, Colorado 80202
  T +1 303.572.6528
  Elayna.Fiene@gtlaw.com | www.gtlaw.com | View GT Biography




  From: Daniel J. Vedra <dan@vedralaw.com>
  Sent: Monday, February 20, 2023 9:03 AM
  To: Fiene, Elayna (OfCnl-DEN-LT) <Elayna.Fiene@gtlaw.com>; Ostfeld, Gregory E. (Shld-Chi-LT)
  <OstfeldG@gtlaw.com>; Beer, Naomi (Shld-Den-LT-Labor-EmpLaw) <BeerN@gtlaw.com>
  Cc: Phillip Robinson <phillip@marylandconsumer.com>
  Subject: Miller EOT on Fees

  *EXTERNAL TO GT*

  Counsel:

  I had a couple of time sensitive matters pop up during the last two weeks that has delayed me in
  drafting the motion for fees and bill of costs. Do you oppose a two week extension?

  Thank you,

  Dan


  --

  Vedra Law LLC
  1444 Blake Street
  Denver, CO 80202

  Direct: (303) 937-6540
  Fax: (303) 937-6547

  vedralaw.com

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  cannot be used, for purposes of (i) avoiding penalties under the Internal Revenue Code, or (ii) promoting,
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                                                                                                            MILLER02087
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  information.

  Smokeball Reference: 2cf5d313-10f7-411c-8209-303757478434/127e1493-ba8f-4951-afd7-b7389050d31e.




                                                                                                          MILLER02088
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                   EXHIBIT “B-5”
Case No. 1:23-cv-02620-NYW-MEH Document 46-3 filed 09/24/24 USDC Colorado pg 23
                                    of 90




  From:                     Elayna.Fiene@gtlaw.com
  Sent:                     4/18/2023 1:17:47 PM
  To:                       dan@vedralaw.com; OstfeldG@gtlaw.com; BeerN@gtlaw.com
  Cc:                       phillip@marylandconsumer.com
  Subject:                  RE: Miller EOT on Fees


  Hi Dan,

  My apologies, I was in a meeting all day yesterday and still haven’t caught up on my emails. We do not
  object to your requested extension.

  Elayna

  Elayna Fiene
  Of Counsel

  Greenberg Traurig, LLP
  1144 15th Street, Suite 3300 | Denver, Colorado 80202
  T +1 303.572.6528
  Elayna.Fiene@gtlaw.com | www.gtlaw.com | View GT Biography




  From: Daniel J. Vedra <dan@vedralaw.com>
  Sent: Tuesday, April 18, 2023 1:16 PM
  To: Fiene, Elayna (OfCnl-DEN-LT) <Elayna.Fiene@gtlaw.com>; Ostfeld, Gregory E. (Shld-Chi-LT)
  <OstfeldG@gtlaw.com>; Beer, Naomi (Shld-Den-LT-Labor-EmpLaw) <BeerN@gtlaw.com>
  Cc: phillip@marylandconsumer.com
  Subject: RE: Miller EOT on Fees

  Following up on this.




  1444 Blake Street
  Denver, CO 80202

  Direct: (303) 937-6540
  Fax: (303) 937-6547



  From: Daniel J. Vedra <dan@vedralaw.com>
  Sent: Monday, April 17, 2023 3:21 PM
  To: 'Elayna.Fiene@gtlaw.com' <Elayna.Fiene@gtlaw.com>; 'OstfeldG@gtlaw.com'
  <OstfeldG@gtlaw.com>; 'BeerN@gtlaw.com' <BeerN@gtlaw.com>




                                                                                                           MILLER02098
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  Cc: 'phillip@marylandconsumer.com' <phillip@marylandconsumer.com>
  Subject: RE: Miller EOT on Fees

  Elayna,

  My wife had surgery last week and I will need a one week extension to file the reply. Please let me
  know if this is agreeable.

  DAn




  1444 Blake Street
  Denver, CO 80202

  Direct: (303) 937-6540
  Fax: (303) 937-6547



  From: Elayna.Fiene@gtlaw.com <Elayna.Fiene@gtlaw.com>
  Sent: Thursday, March 23, 2023 9:03 PM
  To: dan@vedralaw.com; OstfeldG@gtlaw.com; BeerN@gtlaw.com
  Cc: phillip@marylandconsumer.com
  Subject: RE: Miller EOT on Fees

  Thank you. We’ve provided this address to our client and will let you know when payment has been
  sent.

  Elayna Fiene
  Of Counsel

  Greenberg Traurig, LLP
  1144 15th Street, Suite 3300 | Denver, Colorado 80202
  T +1 303.572.6528
  Elayna.Fiene@gtlaw.com | www.gtlaw.com | View GT Biography




  From: Daniel J. Vedra <dan@vedralaw.com>
  Sent: Thursday, March 23, 2023 3:06 PM
  To: Fiene, Elayna (OfCnl-DEN-LT) <Elayna.Fiene@gtlaw.com>; Ostfeld, Gregory E. (Shld-Chi-LT)
  <OstfeldG@gtlaw.com>; Beer, Naomi (Shld-Den-LT-Labor-EmpLaw) <BeerN@gtlaw.com>
  Cc: phillip@marylandconsumer.com
  Subject: RE: Miller EOT on Fees

  Yes. Please pay it directly to Ms. Miller at:




                                                                                                        MILLER02099
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  14078 NE 4th Street
  Choctaw, OK 73020




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  From: Elayna.Fiene@gtlaw.com <Elayna.Fiene@gtlaw.com>
  Sent: Thursday, March 23, 2023 3:02 PM
  To: dan@vedralaw.com; OstfeldG@gtlaw.com; BeerN@gtlaw.com
  Cc: phillip@marylandconsumer.com
  Subject: RE: Miller EOT on Fees

  Hi Dan,

  I assume that your email below is requesting that our client pay the agreed-upon judgment amount of
  $1,781 in exchange for your agreement to our requested extension. If that is the case, we will agree.
  Please confirm, and also provide us with payment instructions. We will file an unopposed motion for the
  extension before the weekend.

  Thank you,
  Elayna

  Elayna Fiene
  Of Counsel

  Greenberg Traurig, LLP
  1144 15th Street, Suite 3300 | Denver, Colorado 80202
  T +1 303.572.6528
  Elayna.Fiene@gtlaw.com | www.gtlaw.com | View GT Biography




  From: Daniel J. Vedra <dan@vedralaw.com>
  Sent: Thursday, March 23, 2023 1:32 PM
  To: Fiene, Elayna (OfCnl-DEN-LT) <Elayna.Fiene@gtlaw.com>; Ostfeld, Gregory E. (Shld-Chi-LT)
  <OstfeldG@gtlaw.com>; Beer, Naomi (Shld-Den-LT-Labor-EmpLaw) <BeerN@gtlaw.com>
  Cc: phillip@marylandconsumer.com
  Subject: RE: Miller EOT on Fees

  Is your client willing to pay the judgment against it to Ms. Miller without prejudice to our right to
  continue seeking fees?




                                                                                                          MILLER02100
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  Fax: (303) 937-6547



  From: Elayna.Fiene@gtlaw.com <Elayna.Fiene@gtlaw.com>
  Sent: Thursday, March 23, 2023 10:14 AM
  To: dan@vedralaw.com; OstfeldG@gtlaw.com; BeerN@gtlaw.com
  Cc: phillip@marylandconsumer.com
  Subject: RE: Miller EOT on Fees

  Dan,

  We have been a bit buried over here. Would you oppose an extension of two weeks for our client’s
  responses to your motion for fees and bill of costs? I believe that the new deadline would be April 11,
  2023.

  Thank you,
  Elayna

  Elayna Fiene
  Of Counsel

  Greenberg Traurig, LLP
  1144 15th Street, Suite 3300 | Denver, Colorado 80202
  T +1 303.572.6528
  Elayna.Fiene@gtlaw.com | www.gtlaw.com | View GT Biography




  From: Daniel J. Vedra <dan@vedralaw.com>
  Sent: Monday, February 20, 2023 9:03 AM
  To: Fiene, Elayna (OfCnl-DEN-LT) <Elayna.Fiene@gtlaw.com>; Ostfeld, Gregory E. (Shld-Chi-LT)
  <OstfeldG@gtlaw.com>; Beer, Naomi (Shld-Den-LT-Labor-EmpLaw) <BeerN@gtlaw.com>
  Cc: Phillip Robinson <phillip@marylandconsumer.com>
  Subject: Miller EOT on Fees

  *EXTERNAL TO GT*

  Counsel:




                                                                                                            MILLER02101
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                                    of 90




  I had a couple of time sensitive matters pop up during the last two weeks that has delayed me in
  drafting the motion for fees and bill of costs. Do you oppose a two week extension?

  Thank you,

  Dan


  --

  Vedra Law LLC
  1444 Blake Street
  Denver, CO 80202

  Direct: (303) 937-6540
  Fax: (303) 937-6547

  vedralaw.com

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  Smokeball Reference: 2cf5d313-10f7-411c-8209-303757478434/8650e222-3d37-4be6-b279-e93d99a0d6c4.




                                                                                                          MILLER02102
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  From:                        Daniel J. Vedra
  Sent:                        6/12/2023 9:02:06 AM
  To:                          'OstfeldG@gtlaw.com'; 'dan@vedralaw.com'
  Cc:                          'ahernel@gtlaw.com'; 'BeerN@gtlaw.com'; 'phillip@marylandconsumer.com'
  Subject:                     RE: Miller v. Connor Group Final Payment


  Greg,

  I was out of the office when the check arrived, so this morning was the first chance I’ve looked at it. It
  was made out to Ms. Miller and should be payable to Vedra Law LLC. Would you kindly ask your client
  to re-issue payment? My client has relocated to Oklahoma and there is no easy or convenient way to
  get her endorsement. Thank you.

  Dan




  1444 Blake Street
  Denver, CO 80202

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  Fax: (303) 937-6547



  From: OstfeldG@gtlaw.com <OstfeldG@gtlaw.com>
  Sent: Tuesday, June 6, 2023 9:01 PM
  To: dan@vedralaw.com
  Cc: ahernel@gtlaw.com; BeerN@gtlaw.com; phillip@marylandconsumer.com
  Subject: Miller v. Connor Group Final Payment

  Good evening, Dan. Congratulations on the result of your fee petition. The Connor Group has
  overnighted a check for the bill of costs, fee award, and interest, and you should receive it by tomorrow
  (Wednesday, June 7). I would appreciate confirmation when you have received it. Please let me know if
  you have any questions.

  Very truly yours,

  Greg Ostfeld
  Shareholder; Vice Chair, Pharmaceutical, Medical Device & Healthcare Litigation Practice Group

  Greenberg Traurig, LLP
  77 West Wacker Drive | Suite 3100 | Chicago, IL 60601
  T +1 312.476.5056 | F +1 312.899.0420 | C +1 312.656.5461
  OstfeldG@gtlaw.com | www.gtlaw.com | View GT Biography




                                                                                                               MILLER02104
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                                                                                                                                                    MILLER02105
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                   EXHIBIT “B-7”
Case No. 1:23-cv-02620-NYW-MEH Document 46-3 filed 09/24/24 USDC Colorado pg 32
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  From:                      Daniel J. Vedra
  Sent:                      6/27/2023 2:41:48 PM
  To:                        ahernel@gtlaw.com
  Cc:                        OstfeldG@gtlaw.com; BeerN@gtlaw.com; phillip@marylandconsumer.com
  Subject:                   Re: Miller v. Connor Group Final Payment


  Yes but it has to be notarized and I have not been in the office. Should be able to do it
  tomorrow.

  On Tue, Jun 27, 2023 at 2:29 PM <ahernel@gtlaw.com> wrote:

    Dan – thank you for destroying the check. Are you still planning to file a satisfaction of
    judgment?


    Lindsay Aherne
    Of Counsel

    Greenberg Traurig, LLP
    1144 15th Street, Suite 3300 | Denver, Colorado 80202
    Office +1 303.572.6508 | Cell +1 303.847.5050 | Fax +1 720.904.7608
    ahernel@gtlaw.com | www.gtlaw.com | View GT Biography




    From: Daniel J. Vedra <dan@vedralaw.com>
    Sent: Monday, June 12, 2023 3:54 PM
    To: Ostfeld, Gregory E. (Shld-Chi-LT) <OstfeldG@gtlaw.com>
    Cc: Aherne, Lindsay (OfCnl-DEN-LT) <ahernel@gtlaw.com>; Beer, Naomi (Shld-Den-LT-
    Labor-EmpLaw) <BeerN@gtlaw.com>; phillip@marylandconsumer.com
    Subject: RE: Miller v. Connor Group Final Payment



    Thank you, Greg. I will destroy the check I received.




    1444 Blake Street

    Denver, CO 80202




                                                                                                 MILLER02109
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                                    of 90




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    Fax:     (303) 937-6547




    From: OstfeldG@gtlaw.com <OstfeldG@gtlaw.com>
    Sent: Monday, June 12, 2023 2:10 PM
    To: dan@vedralaw.com
    Cc: ahernel@gtlaw.com; BeerN@gtlaw.com; phillip@marylandconsumer.com
    Subject: RE: Miller v. Connor Group Final Payment



    Hi Dan. I checked with The Connor Group, and they are going to reissue the check with
    payment to Vedra Law LLC.


    Very truly yours,




    Greg Ostfeld
    Shareholder; Vice Chair, Pharmaceutical, Medical Device & Healthcare Litigation Practice Group

    Greenberg Traurig, LLP
    77 West Wacker Drive | Suite 3100 | Chicago, IL 60601
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                                                                                                                                                 MILLER02110
Case No. 1:23-cv-02620-NYW-MEH Document 46-3 filed 09/24/24 USDC Colorado pg 34
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    From: Daniel J. Vedra <dan@vedralaw.com>
    Sent: Monday, June 12, 2023 10:02 AM
    To: Ostfeld, Gregory E. (Shld-Chi-LT) <OstfeldG@gtlaw.com>; dan@vedralaw.com
    Cc: Aherne, Lindsay (OfCnl-DEN-LT) <ahernel@gtlaw.com>; Beer, Naomi (Shld-Den-LT-
    Labor-EmpLaw) <BeerN@gtlaw.com>; phillip@marylandconsumer.com
    Subject: RE: Miller v. Connor Group Final Payment



    *EXTERNAL TO GT*

    Greg,



    I was out of the office when the check arrived, so this morning was the first chance I’ve
    looked at it. It was made out to Ms. Miller and should be payable to Vedra Law LLC. Would
    you kindly ask your client to re-issue payment? My client has relocated to Oklahoma and
    there is no easy or convenient way to get her endorsement. Thank you.



    Dan




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    Denver, CO 80202



    Direct: (303) 937-6540

    Fax:    (303) 937-6547




    From: OstfeldG@gtlaw.com <OstfeldG@gtlaw.com>
    Sent: Tuesday, June 6, 2023 9:01 PM
    To: dan@vedralaw.com




                                                                                            MILLER02111
Case No. 1:23-cv-02620-NYW-MEH Document 46-3 filed 09/24/24 USDC Colorado pg 35
                                    of 90




       Cc: ahernel@gtlaw.com; BeerN@gtlaw.com; phillip@marylandconsumer.com
       Subject: Miller v. Connor Group Final Payment



       Good evening, Dan. Congratulations on the result of your fee petition. The Connor Group has
       overnighted a check for the bill of costs, fee award, and interest, and you should receive it by
       tomorrow (Wednesday, June 7). I would appreciate confirmation when you have received it.
       Please let me know if you have any questions.


       Very truly yours,




       Greg Ostfeld
       Shareholder; Vice Chair, Pharmaceutical, Medical Device & Healthcare Litigation Practice Group

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       T +1 312.476.5056 | F +1 312.899.0420 | C +1 312.656.5461
       OstfeldG@gtlaw.com | www.gtlaw.com | View GT Biography




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                                    of 90



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  Denver, CO 80202

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                   EXHIBIT “B-8”
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                                                 DATE FILED: July 5, 2023 10:12 AM
                                                 FILING ID: 5F507C05B5415
                                                 CASE NUMBER: 2021CV34094




                                                                                MILLER01046
Case No. 1:23-cv-02620-NYW-MEH Document 46-3 filed 09/24/24 USDC Colorado pg 39
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                   EXHIBIT “B-9”
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:23-cv-2620-NYW-MEH

  ZEPHERINE MILLER, an individual,

             Plaintiff,
  v.

  NATIONAL CREDIT SYSTEMS INC.,

         Defendant.


       PLAINTIFF’S FIRST SUPPLEMENTAL RESPONSES TO DEFENDANT
       NATIONAL CREDIT SYSTEMS, INC’S FIRST SET OF DISCOVERY TO
                               PLAINTIFF

         Plaintiff Zepherine Miller (“Plaintiff” or “Ms. Miller”), by and through her attorney of

  record, Daniel J. Vedra, hereby responds to Defendant National Credit Systems, Inc.’s (the

  “Defendant” or the “Debt Collector”) First Set of Discovery to Plaintiff.

                                  REQUEST FOR CONFERENCE
             In Defendant’s First Set of Discovery to Plaintiff, Defendant states: “Pursuant to

   Federal Rules of Civil Procedure, and any and all applicable Local Rules(s), it is requested

   that you contact counsel for the requesting party in an effort to resolve by agreement any
   objections or other disputes which might exist prior to requesting intervention of the

   Court.”

             Counsel for Ms. Miller has requested that counsel for Defendant engage in such on
   conference. Counsel for Ms. Miller provided March 19th and March 21st as dates to speak,

   by telephone, concerning the discovery requests. Counsel for Defendant did not accept

   either of those dates, and then proposed that counsel confer after a deposition scheduled

   for March 18th. This time did not work for the undersigned. Rather than discuss this during
   the remotely conducted deposition, or schedule a date and time for conferral, counsel for
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   Defendant left the deposition while it was occurring and up on returning to the deposition,

   left before providing the court reporter with his contact information. Consequently,
   undersigned counsel was unable to discuss alternative meeting times with counsel for

   Defendant.

          To date, counsel for Defendant has not contacted undersigned counsel to complete

   the request for conference as requested in Defendant’s discovery requests. This violates

   not only the requirements that Defendant purported to impose in its discovery requests,

   but also violated Rule 1: the Federal Rules of Civil Procedure should be “construed,

   administered, and employed by the court and the parties to secure the just, speedy, and
   inexpensive determination of every action and proceeding.”           By refusing to hold a

   telephonic conference to discuss the issues created by Defendant’s discovery requests,

   Defendant has caused Plaintiff’s counsel to expend unnecessary time in objecting to
   excessive discovery requests, harassed Plaintiff by seeking facially privileged information

   and information that is not in proportion to the needs of this case, and will likely result in

   the use of the Court’s discovery dispute resolution procedures.

          Undersigned counsel is available for a conferral call on Tuesday, April 16, 2024
   between 10:00 a.m. and 2:00 p.m.; April 18, 2024 between 9:30 a.m. and 2:00 p.m.; and

   April 19, 2024 between 10:00 a.m. and 2:15 p.m.

                                           DEFINITIONS
         As used in these requests for production of documents, the terms listed below are

  defined as follows:
         (a)    The terms “requesting party,” “Defendant,” “National Credit Systems, Inc.,”
  and “NCS” as used herein, shall mean, unless otherwise directed, National Credit Systems,

  Inc., its successors or predecessors in interest, parent(s), subsidiaries, affiliates, brother-

  sister companies or related entities, their officers, directors, attorneys, accountants,

  agents, servants, employees and all other persons or entities acting or purporting to act on
  their behalf with respect to Plaintiff or the Account.
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         Objection: Plaintiff objects to this definition to the extent that it purports to broadly

  define the Defendant beyond the commonly accepted meaning and beyond what is
  proportional or relevant to the needs of this case. This definition would broadly define the

  Defendant to include persons or entities that Plaintiff does not even know of. For example,

  Plaintiff does not know what is meant by “brother-sister companies” or who these “brother-

  sister companies” are. Accordingly, Plaintiff will respond to these discovery requests by

  interpreting this defined term as just the entity who is the defendant in this lawsuit unless

  Defendant has specifically identified the other person or entity.

         (b)     The terms “Plaintiff,” “you,” “your,” “Zepherine Miller,” and “Miller,” as
  used herein, shall mean, unless otherwise directed, Zepherine Miller, the Plaintiff in the

  above-captioned lawsuit, (i) individually; (ii) in all capacities in which she asserted claims

  against The Connor Group in the The Connor Group Litigation; and (iii) her current and
  former spouse(s), accountants, attorneys, partners, joint venturers, employees, employers,

  agents, servants, representatives, and all other persons or entities acting or purporting to

  act on her behalf with respect to The Connor Group Litigation, or this Litigation or Account,

  whether authorized or not.
         Objection: Plaintiff objects to this definition to the extent that it purports to broadly

  define the Plaintiff beyond the commonly accepted meaning and beyond what is
  proportional or relevant to the needs of this case. This definition would broadly define the
  Plaintiff to include persons or entities that are not relevant to this action; include Plaintiff’s

  attorney; and unknown persons or entities who may not even be authorized on behalf of
  Plaintiff. Accordingly, Plaintiff will respond to these discovery requests by interpreting
  Plaintiff to mean the one person who is the Plaintiff in this case, Zepherine Miller, unless the

  specific discovery request otherwise requires and is not otherwise objectionable.

         (c)     The term “Account Statement” or “Account,” as used herein, shall mean the

  account for which NCS contacted Plaintiff or attempted to collect from Plaintiff that is
  allegedly owed to the Original Creditor. The Account is also identified by NCS as Account No.
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  4510687.

         Objection: Plaintiff objects to this request because it states that the account is
  “allegedly owed to the Original Creditor”. A court has already conclusively determined that

  the Account is not owed to anyone.

         (d)     The term “Original Creditor,” as used herein, shall mean Alas Over Lowery

  Apartments managed by The Connor Group.

         Objection: Plaintiff objects to this definition because Alas Over Lowery is spelled

  incorrectly and is also merely a trade name for The Connor Group, A Real Estate Investment

  Firm, LLC. Plaintiff will apply this definition as though Defendant had correctly named the
  original creditor against whom she obtained a court order that Plaintiff did not owe any

  obligation and for whom Defendant continued to attempt to collect an invalid consumer

  obligation.
         (e)     The term “Litigation,” “Lawsuit,” or “suit” as used herein shall mean this Civil

  Action No.

         1:23-cv-02620-MEH; Zepherine Miller v. National Credit Systems, Inc.; In the United

  States District Court for the District of Colorado.
         Objection: Plaintiff objects to this definition because it incorrectly identifies the

  above captioned case.
         (f)     The term “The Connor Group Litigation” as used herein shall mean
  Case No. 2021CV34094; Zepherine Miller, an individual on behalf of herself and other similarly

  situated v. The Connor Group, a Real Estate Investment Firm, LLC d/b/a The Connor Group, an
  Ohio limited liability company; In the District Court, County of Denver, Colorado.
         (g)     The term “consumer credit reporting agency,” “credit reporting agency,” or

  “CRA” shall mean, as used herein, Experian, Equifax, and TransUnion.

         (h)     The terms “document,” and “documents” and “tangible things” as used

  herein, shall be given the broadest meaning possible as provided by Federal Rules of Civil
  Procedure and shall include without limitation, all writings of every kind, including, without
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  limitation, letters, telegrams, memoranda, reports, studies, electronic mail, calendar and

  diary entries, maps, pamphlets, notes, charts, tabulations, analyses, statistical or
  information accumulations, audits and associated work papers, any kind of records of

  meetings or conversations, film impressions, magnetic tape, sound or mechanical

  reproductions, all stored compilations of information of any kind which may be retrievable

  (such as, but without limitation, the contents of computer memory or information storage

  facilities, and computer programs, and any instructions or interpretive materials associated

  with them), and copies of documents which are not identical duplicates of the originals (e.g.,

  because handwritten or “blind” notes appear thereon or are attached hereto) whether or
  not the originals are in your possession, custody or control.           The term “document”

  specifically includes, without limitation, all drafts and preliminary versions of documents.

  Any copy of a document containing or having attached thereto alterations, notes, comments,
  or other material not included in the original or another copy of the document shall be

  deemed to be a separate document.             Specifically the terms “document” and

  “documents” shall include all ESI as defined herein.

  Objection: Plaintiff objects to this definition on the grounds that is expands discovery
  beyond what is proportional to the needs of this case, including the production of ESI.

  Plaintiff will not produce any documents in their “native format”.
         (i)     The terms “ESI” and “electronically stored information” as used herein,
   shall mean any and all information that is created, stored, or retrieved and processed in

   electronic, magnetic, or digital form. ESI includes, but is not limited to, the following:
         (i.)    (1) databases, (2) data files, (3) program files, (4) image files, (9) system-
  history files, (10) deleted files, programs, or e-mails, (11) backup files and archival tapes,

  (12) website files, (13) website information stored in textual, graphical, or audio format,

  (14) cache files, (15) cookies, and any form contemplated by FED. R. CIV. P. 34.

         Sources of ESI include, but are not limited to:
         (ii.)   (1) mainframe computers, (2) network servers, (3) Internet (“web” or
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  “cloud”) servers, (4) desktop and laptop computers, (5) hard drives, (6) flash drives, “thumb”

  drives, secure digital cards, and other flash memory cards, (7) e-mail servers, (8) handheld
  devices like personal digital assistants (PDAs) and personal media players (PMPs), (9) cell

  phones and smart phones, (10) event recorders in cars, trucks and trains, (11) medical

  devices, and (12) global positioning system (GPS) devices.

         ESI shall be produced as it is normally maintained—its native file format. Should

  such native file format require an image file (such as .pdf or .tif), searchable text file and/or

  metadata load file to access, view, search, or use the ESI as the responding party can such

  files shall be included in the production.
         Objection: Plaintiff objects to this definition on the grounds that is expands discovery beyond

  what is proportional to the needs of this case, including the production of ESI. Plaintiff will not

  produce any documents in their “native format”.

         (j)     The terms “communicate” or “communication” as used herein includes,

   without limitation of its generality, statements, discussions, conversations, meetings,

   remarks, questions, and answers, whether written, oral or electronic. The term includes,

   but is not limited to, every manner or means of disclosure, transfer or exchange, whether
   face to face and those which are transmitted by any type of service or media, including

   without limitation, mail, courier, intercoms, telephones, intranet, internet and e-mail.
         (k)     The term “agreement” as used herein, shall mean any contract, agreement,
   promise, note, arrangement, including all amendments, supplements and additions thereto.

         (l)     The term “third party” and “third parties” as used herein, unless otherwise
   indicated, shall mean any natural persons, firms, partnerships, associations, organizations,
   joint ventures, corporations and any other entities.

         (m)     The term “any” or “all” as used herein, shall mean “any or all.”

         (n)     The terms “relating to,” “pertaining to” or “concerning” as used herein,

   shall mean referring to, reflecting or related in any manner logically, factually, directly or
   indirectly to the matter discussed.
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          (o)     The word “person(s)” as used herein, shall be deemed to include all natural

   persons, firms, partnerships, associations, organizations, joint ventures, corporations and
   any other entities.

          (p)     The terms “provide” or “provided” as used herein, shall mean to give, send,

   make available,deliver, supply, or furnish in any manner.

          (q)     Whenever the terms “and” or “or” are used herein, they are to be

   interpreted both disjunctively and conjunctively.

          (r)      The term “including,” as used herein, shall mean “including, but not limited

   to.”
           Objection: Plaintiff objects to this definition because it expands the scope of

  discovery beyond what is proportional to this case. Accordingly, Plaintiff will apply this

  definition as those the phrase “including” means just those items listed immediately after
  the word including.

          (s)     The singular form of a noun or pronoun shall be considered to include within

   its meaning the plural form of the noun or pronoun, and vice versa. Regardless of the tense

   employed, all verbs shall be read as applying to the past, present and future as is necessary
   to make any paragraph more, rather than less, inclusive.

          (t)      Words used in the singular herein are also to be interpreted in the plural,
   and vice versa; words of any gender, include all other genders.

                                            INSTRUCTIONS
   (1)     PRODUCTION: Pursuant to Federal Rule of Civil Procedure 34(b), all documents
           produced shall be produced as they are kept in the usual course of business or shall
           organize [sic] and label them to correspond with the categories in the Requests for

           Production.

   (2)    OBJECTIONS:
           (a) Interrogatories. Pursuant to Federal Rule of Civil Procedure 33(b), all grounds
                for an objection to an interrogatory shall be stated with specificity or it is waived.
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            To the extent an objection is made, the objecting party shall state the reasons for

            the objection and shall answer to the extent the interrogatory is not
            objectionable.

         (b) Requests for Production. Pursuant to Federal Rule of Civil Procedure 34(b), all

            grounds for an objection to a request for production shall be stated with

            specificity or it is waived. To the extent an objection is made to part of an item

            or category, the part shall be specified and inspection permitted of the

            remaining parts. Plaintiff shall designate in Plaintiff’s response any documents

            withheld due to, or relying on, any objection asserted.
         (c) Requests for Admission. Pursuant to Federal Rule of Civil Procedure 36(a)(4) and

            (5), in the event you assert any form of objection or privilege as a ground for not

            answering a request for admission or any part thereof, you are required to set
            forth the legal grounds and facts upon which the objection or privilege is based.

            If the objection relates to only part of the request for admission, the balance of

            the request for admission should be answered in full.

   (3)   CLAIMS OF PRIVILEGE: With respect to any document or information which you
         assert is immune from discovery because of any privilege or work product doctrine,

         please provide the withholding statement required by Federal Rule of Civil
         Procedure 26(b)(5), that provides the following:
         “[M]ake the claim expressly and shall describe the nature of the documents,

         communications, or things not produced or disclosed in a manner that, without
         revealing information itself privileged or protected, will enable other parties assess
         the applicability of the privilege or protection.”

   (4)   POSSESSION, CUSTODY & CONTROL: You are required to produce all documents and

         tangible things that are within your possession, custody or control, which means

         that you either have physical possession of the item or have a right to possession of
         that item that is equal to or superior to the person who has physical possession of
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          the item.

   (5)    EXTENSIONS OF TIME:           Any agreement for extension of time to respond to
          these Requests for Production must be in writing. No extensions of time for making

          objections to these discovery requests should be presumed unless such agreement is

          specifically set out in writing.

   (6)    LOST OR DESTROYED DOCUMENTS: If any document herein requested was

          previously in your possession, custody, or control and has been lost or destroyed,

          you are requested to submit, in lieu of each document, a written statement, which:

          1.     Reasonably describes in detail the nature of the document and its content;
          2. Identifies the person who prepared or authorized the document, and, if

               applicable, the person to whom the document was sent;

          3.     Specifies the date on which the document was prepared or transmitted or
          both; and

          4. Specifies, if possible, the date on which the document was lost or destroyed,

               and, if destroyed, the conditions of or reasons for, such destruction and the

               persons requesting and performing the destruction.
  Objection: Plaintiff objects to this instruction on the grounds that it purports to impose

  requirements not contemplated by the Federal Rules of Civil Procedure. Specifically, this
  instruction purports to require Plaintiff to answer the equivalent of an interrogatory for any
  document that was lost or destroyed. Plaintiff will not follow this instruction.

   (7)    IDENTIFY: In those instances where the word “identify,” is used in these requests
          for discovery, it should be interpreted as requiring with respect to individuals, the
          person’s name, last known address and telephone number.             With respect to

          documents or things, it should be interpreted requiring sufficient information

          regarding the item so that the party seeking discovery can locate and identify the

          object as readily as the party from whom it is being sought (including such
          information as the type of document (e.g., letter memorandum, telegram, chart,
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          computer input or printout, e-mail, photograph, sound reproduction, etc.), date of

          the document, author of the document, where the document is located or the last
          known custodian of the document and whether the document is in existence, lost

          or destroyed). With respect to entities, it should be interpreted to require, the name

          of the entity, the entities’ last known address and telephone number, and the name,

          address and telephone of any known officers or related entities of the entity.

   (8)    REFERENCE TO DOCUMENTS: In those instances where the responding party

          chooses to answer a request for information by referring to a specific document or

          record, it is requested that such specification be in such sufficient detail to permit the
          requesting party to locate and identify the records and/or documents from which the

          answer is to be ascertained, as readily as can the party served with the request.

   (9)    COMPUTER BASED INFORMATION: In those instances where requested information
          is stored only on software or other data compilations, the responding party should

          either produce the raw data along with all codes and programs for translating it into

          usable form or produce the information in a finished usable form, which would

          include all necessary glossaries, keys and indices for interpretation of the material.
   (10)   DOCUMENT DESTRUCTION:             It is requested that all documents and/or other

          data compilations which might impact on the subject matter of this litigation be
          preserved and that any ongoing process of document destruction involving such
          documents cease.

   (11)   LIMITATION AS TO TIME:           Unless otherwise indicated, these requests cover
          any document or information prepared, received, distributed, or in effect during the
          time period of January 1, 2018 to the date of trial. (Also referred to herein as the

          “Relevant Time Period.”)

                                 REQUESTS FOR PRODUCTION

  1.      All communications with the Original Creditor regarding the Account, including any
  complaints or disputes regarding the debt allegedly owed to the Original Creditor.
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  Objection: Plaintiff objects to this request on the grounds that it does not describe what is

  sought with reasonable particularity to enable Plaintiff to respond with relevant documents.
  By way of example, Plaintiff’s counsel conferred with the Original Creditor’s attorneys

  regarding extensions of time. On its face, this request would require Plaintiff to provide all

  communications with the Original Creditor’s attorneys to request to extend time to respond

  to a motion to dismiss, which is plainly not relevant to this case or proportional to the needs

  of this case. Accordingly, Plaintiff will respond with all documents relevant to the claims and

  defenses in this case.

  Response: Plaintiff has provided all relevant documents with its initial disclosures except
  those that are called for in the more particularized but duplicative requests below.

  2.     All communications between your attorney and the attorneys representing The

  Original Creditors related to any Offer of Judgment or settlement of The Connor Group
  Litigation.

  Response: Plaintiff will provide all documents responsive to this request.

  3.     All communications between your attorney and the attorneys representing the

  Original Creditor from January 1, 2023 to present.
  Objection: Cumulative. This request seeks all communications with the Original Creditor’s

  attorneys, which plainly duplicates the request above it.
  Objection: Relevance and proportionality.        This request seeks information that is not
  relevant to this dispute. By way of example, the Original Creditor consented to a judgment

  against it for illegally harvesting application fees and violating the Colorado Consumer
  Protection Act. That is not relevant to whether the Debt Collector, NCS, failed to comply with
  the Fair Credit Reporting Act or Fair Debt Collection Practices Act.

  Response: Subject to the foregoing objections, Plaintiff will provide all relevant documents

  responsive to this request.

  4.     All documents identified in your answers to, or that you consulted or used to answer,
  any Interrogatories or Initial Disclosures in this Litigation.

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  Objection:    Objection as to form and scope.      The request as propounded sweeps all

  documents concerning this action or the subject matter of this action, and/or the substance
  of those facts. In addition to being otherwise overbroad, the request would include all

  allegations of the complaint and documents ‘relating to’ those facts. By way of example,

  Plaintiff alleged that over 2,000 debt collection complaints have been made about NCS with

  the CFPB over the last 3 years.

           Accordingly, Plaintiff would have to produce all such complaints, of which Defendant

  already has and certainly has better access to than Plaintiff. The complaint also alleges

  illegality, meaning the overbroad request would call for Plaintiff’s work-product and
  privileged communications. Defendant thus asks Plaintiff to undertake an ill-defined and

  potentially endless search concerning every document possibly embracing any matter

  addressed in this action and everything relating to those alleged facts. This is not a proper
  use of discovery.

  Objection: Objection as to legal conclusion / work product. Defendant specifically asks for

  facts that form the basis of a legal conclusion. This request should be deferred to a pretrial

  conference.
  Objection: Supernumerary interrogatories. As explained below, Defendant has greatly

  exceeded the Court-ordered numerical limitation on interrogatories.
  Response: Documents are being withheld on the basis of these objections to the requests.
  5.       All documents which relate to, refer to, or support your claims and damages set forth

  in Plaintiff’s Original Complaint, including any amendments thereto.
  Objection: The request does describe any reasonable particularity as required by Fed. R. Civ.
  P. 34.

  Objection:    Objection as to form and scope.      The request as propounded sweeps all

  documents concerning this action or the subject matter of this action, and/or the substance

  of those facts. In addition to being otherwise overbroad, the request would include all
  allegations of the complaint and documents ‘relating to’ those facts. By way of example,

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  Plaintiff alleged that over 2,000 debt collection complaints have been made about NCS with

  the CFPB over the last 3 years.
           Accordingly, Plaintiff would have to produce all such complaints, of which Defendant

  already has and certainly has better access to than Plaintiff. The complaint also alleges

  illegality, meaning the overbroad request would call for Plaintiff’s work-product and

  privileged communications. Defendant thus asks Plaintiff to undertake an ill-defined and

  potentially endless search concerning every document possibly embracing any matter

  addressed in this action and everything relating to those alleged facts. This is not a proper

  use of discovery.
  Objection: Objection as to legal conclusion / work product. Defendant’s broad request

  encompasses documents created for purposes of litigation including documents that form

  the basis of a legal conclusion. This request should be deferred to a pretrial conference.
  Response: Documents are being withheld on the basis of these objections to the requests.

  6.       A copy of all documents received from (whether by subpoena or otherwise), or

  provided to, any party to this Litigation or any third party, that is related to this Litigation,

  The Connor Group Litigation, the Account, or NCS, including but not limited to, all deposition
  transcripts and exhibits, correspondence, or documents. This request specifically includes

  documents to/from co-defendants, fact witnesses, expert witnesses, the CRAs, credit repair
  organizations, and credit monitoring services.
  Objection: The request does describe any reasonable particularity as required by Fed. R. Civ.

  P. 34.
  Objection:    Objection as to form and scope.       The request as propounded sweeps all
  documents concerning this action or the subject matter of this action, and/or the substance

  of those facts. In addition to being otherwise overbroad, the request would include all

  allegations of the complaint and documents ‘relating to’ those facts. By way of example,

  Plaintiff alleged that over 2,000 debt collection complaints have been made about NCS with
  the CFPB over the last 3 years.

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           Accordingly, Plaintiff would have to produce all such complaints, of which Defendant

  already has and certainly has better access to than Plaintiff. The complaint also alleges
  illegality, meaning the overbroad request would call for Plaintiff’s work-product and

  privileged communications. Defendant thus asks Plaintiff to undertake an ill-defined and

  potentially endless search concerning every document possibly embracing any matter

  addressed in this action and everything relating to those alleged facts. This is not a proper

  use of discovery.

  Objection: Plaintiff objects to this request on the grounds that third-party subpoena

  recipients have already produced all such documents to the Debt Collector and the Debt
  Collector is attempting to harass Plaintiff into doing duplicative and unnecessary work that

  has already resulted in Defendant receiving the requested documents. Accordingly, Plaintiff

  will not re-produce documents that should already be in Defendant’s possession, custody, or
  control until Defendant identifies which document productions it has not received from any

  subpoena recipient. By way of example, and not of limitation, Defendant should have already

  received document productions from the Consumer Reporting Agencies.

  Objection: Objection as to legal conclusion / work product. Defendant’s broad request
  encompasses documents created for purposes of litigation including documents that form

  the basis of a legal conclusion. This request should be deferred to a pretrial conference.
  Response:       Documents are being withheld on the basis of these objections to the requests.
  7.       A copy of all documents in your possession related to other litigation where NCS is a

  party.
  Objection: The request does describe any reasonable particularity as required by Fed. R. Civ.
  P. 34.

  Objection: Overly broad and harassment. NCS has been sued hundreds, if not thousands, of

  times. These documents are plainly in the possession, custody, and control of NCS, the

  defendant in each of these lawsuits. Defendant is attempting to make Plaintiff’s counsel
  organize and produce those documents to Defendant when Defendant, the defendant in

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  these lawsuits, already has them. Moreover, Defendant is the subject of thousands of

  complaints to the CFPB, and those documents may “relate to” litigation against NCS because
  NCS has a practice of denying all claims against it. This would require Plaintiff to scour the

  CFPB database and organize documents relevant to litigation that was also filed against

  Defendant.

  Objection: Objection as to legal conclusion / work product. Defendant’s broad request

  encompasses documents created for purposes of litigation including documents that form

  the basis of a legal conclusion. This request should be deferred to a pretrial conference.

  Objection: Proportionality. This request would encompass all documents publicly available
  concerning the hundreds, if not thousands, of lawsuits filed against the Debt Collector

  because one of the elements of statutory damages under the FDCPA is the Debt Collector’s

  “frequency and persistence of noncompliance” among other relevant factors. 15 U.S.C. §
  1692k(b)

  Response:       Documents are being withheld on the basis of these objections to the requests.

  8.       Any exhibits which you may offer into evidence upon trial of this case.

  Objection: Premature. There is no trial date set in this case. Plaintiff will provide these
  documents when required by the rules.

  Objection: Objection as to legal conclusion / work product. Defendant’s broad request
  encompasses documents created for purposes of litigation including documents that form
  the basis of a legal conclusion. This request should be deferred to a pretrial conference.

  Response:       Documents are being withheld on the basis of these objections to the requests.
  9.       A copy of all communications between your attorney and any other attorney related
  to NCS.

  Objection: Cumulative. This is at least the third time that NCS has requested the same thing.

  Objection: The request does describe any reasonable particularity as required by Fed. R. Civ.

  P. 34.
  Objection: Vague. It is not clear what is meant by “any other attorney related to NCS.” It

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  could mean that the attorney is related to NCS. Or it could mean that the communications

  are related to NCS.
  Objection: Relevance. This request seeks information that is not relevant to this dispute. By

  way of example, the Original Creditor consented to a judgment against it for illegally

  harvesting application fees and violating the Colorado Consumer Protection Act. That is not

  relevant to whether the Debt Collector, NCS, failed to comply with the Fair Credit Reporting

  Act or Fair Debt Collection Practices Act.

  Objection: Work product/privilege. Any communication with another attorney concerning

  NCS that was between Plaintiff’s attorney and any other attorney would reflect Plaintiff’s
  attorney’s work product and mental impressions.

  Response: Documents are being withheld on the basis of these objections to the requests.

  10.      All documents that specifically reference the Account, NCS, or the Original Creditor
  (which necessarily includes any documents sent to, or received from NCS, the Original

  Creditor, any CRA, the BBB, and any governmental or administrative agency).

  Objection: The request does describe any reasonable particularity as required by Fed. R. Civ.

  P. 34.
  Objection: Overly broad and harassment. NCS has been sued hundreds, if not thousands, of

  times. These documents are plainly in the possession, custody, and control of NCS, the
  defendant in each of these lawsuits. Defendant is attempting to make Plaintiff’s counsel
  organize and produce those documents to Defendant when Defendant, the defendant in

  these lawsuits, already has them. Moreover, Defendant is the subject of thousands of
  complaints to the CFPB. It would not be proportionate to the needs of the case for Plaintiff
  to produce every singly document referencing the legion of complaints against NCS.

  Moreover, this request seeks all documents that reference the Original Creditor. This would

  require Plaintiff to perform an endless search of documents that relate to a multi-state real

  estate investment company, for whom NCS is the debt collector.
  Response: Documents are being withheld on the basis of these objections to the requests.

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  11.      All documents that refer or relate to communications between you and NCS or the

  Original Creditor, specifically including, but not limited to, your notes, calendars, and diaries.
  Objection: The request does describe any reasonable particularity as required by Fed. R.

  Civ. P. 34.

  Objection:    Objection as to form and scope.        The request as propounded sweeps all

  documents concerning this action or the subject matter of this action, and/or the substance

  of those facts. In addition to being otherwise overbroad, the request would include all

  allegations of the complaint and documents ‘relating to’ those facts. By way of example,

  Plaintiff alleged that over 2,000 debt collection complaints have been made about NCS with
  the CFPB over the last 3 years.

           Accordingly, Plaintiff would have to produce all such complaints, of which Defendant

  already has and certainly has better access to than Plaintiff. The complaint also alleges
  illegality, meaning the overbroad request would call for Plaintiff’s work-product and

  privileged communications. Defendant thus asks Plaintiff to undertake an ill-defined and

  potentially endless search concerning every document possibly embracing any matter

  addressed in this action and everything relating to those alleged facts. This is not a proper
  use of discovery.

  Response: Documents are being withheld on the basis of these objections to the requests.
  12.      All documents you sent to, or received from the Original Creditor.
  Objection: The request does describe any reasonable particularity as required by Fed. R. Civ.

  P. 34.
  Objection: Cumulative. This is at least the fourth time that NCS has requested the same thing.
  Response: Documents are being withheld on the basis of these objections to the requests.

  13.      All documents you sent to, or received from, NCS.

  Objection: The request does describe any reasonable particularity as required by Fed. R. Civ.

  P. 34.
  Objection: Improper burden shifting. Defendant is attempting to make Plaintiff produce all

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  documents that NCS sent or received. NCS should have those.

  Response: Subject to the foregoing objections, Plaintiff has produced all documents relevant
  to this request.

  14.    All documents you received from, or provided to, any credit repair organization or

  other third party related to the Account, the Original Creditor and/or NCS.

  Objection:    Attorney client privilege and work product.         This request includes all

  communications between Plaintiff and her counsel. The purpose of this request is to harass

  Plaintiff and cause her attorneys to produce a privilege log of every single communication

  over a multi-year period.
  Response: Subject to the above objection(s), no such documents exist.

  15.    Copies of all communications, complaints or disputes that you, or anyone on your

  behalf, sent to any CRA regarding the Original Creditor, or the Account, including any
  documents attached to such complaints or disputes.

  Response: All such documents have already been produced or received by NCS.

  16.    A copy of any letter, adverse action notice, or other document that notified you that

  you were denied for any loans and/or credit at any time from 2018 to present, and/or
  offered any credit or loan at less favorable terms and/or interest rate(s).

  Response: All such documents have already been produced or will be produced.
  17.    A copy of all documents related to any application for credit or loan from 2018 to
  present, specifically including but not limited to the application, any documents attached or

  supplemented, correspondence between you and any third party or professional assisting
  you with the process, and any correspondence between you and the possible credit grantor.
  Response: All such documents have already been produced or will be produced.

  18.    All credit reports, credit summaries, credit files or letters, and/or any other

  documents specifying your credit history or credit score that you obtained or received from

  2018 to present.
  Response: All such documents have already been produced or will be produced.

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  19.      A copy of all emails or electronic communications from you to any other person or

  third party, other than your attorneys in this Litigation, concerning your credit score, your
  credit file with any consumer reporting agency, the Original Creditor, the Account, and/or

  NCS.

  Objection: The request does describe any reasonable particularity as required by Fed. R. Civ.

  P. 34.

  Response: All such documents have already been produced or will be produced.

  20.      All medical records which are related to NCS’s alleged actions or conduct and

  treatment by any health care provider for injuries which you claim are related to the
  incidents giving rise to this litigation or NCS’s alleged actions or conduct, including but not

  limited to all bills, invoices, and all treatment records and summaries.

  Objection: Objection, physician-patient privilege / HIPAA. To the extent Defendant is
  seeking medical or treatment records, those are protected by HIPAA and the physician-

  patient privilege. Plaintiff does not intend to produce medical records or doctors to support

  her claims.

  21.      All documents reflecting or relating to any element of damage you have claimed in
  your Complaint or Disclosure Responses (including any amendments to either), including,

  but not limited to:
  (a) Economic damages, including, without limitation, any actual damages resulting from loss
  of credit, increased interest charges, denial of credit, increased credit scores, etc.;

  (b)      Loss of earnings or earnings capacity;
  (c)      Medical expenses in the past (and expected in the future);
  (d)      Mental Anguish; and

  (e)      Any other loss or damage of any type or nature.

  Objection: The request does describe any reasonable particularity as required by FRCP 34.

  By way of example, the claims pled give rise to theories permitting statutory and punitive
  damages, for which most documents demonstrating availability/evidence would be those

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  maintained and created by Defendant.

  Objection: Objection as to work product / attorney-client privilege. Defendant’s broad
  request encompasses documents created for purposes of litigation including documents that

  reference the Account. Given that every piece of attorney-created document for this case

  concerns the account, the creation of a privilege log alone makes the request, with no

  exceptions, unduly burdensome.

  Objection: Vague. Plaintiff does not know what is meant by “Disclosure Responses”.

  Response: Documents are being withheld on the basis of these objections to the requests.

  But see all documents produced.
  22.    All attorney fee agreement(s), engagement letter(s), invoices, website materials,

  advertisements or marketing materials for Vedra Law, LLC related to this Litigation and The

  Connor Group Litigation and this litigation.
  Objection: The fee agreement/engagement letter between Plaintiff and her counsel is not

  proportional to the needs of establishing liability in this case.

  Objection: Premature.

  Objection: Vague. It is unclear what is meant by “website materials”.
  Objection: This discovery request is intended to harass Plaintiff and her counsel. There is

  no need to provide “website materials” that are publicly available from the internet.
  Objection:   This discovery request is intended to harass Plaintiff and her counsel.
  Advertisements and marketing materials are not relevant or proportional to the needs of

  this case.
  Objection: The amount of attorney fees, if not agreed to between the parties, is an issue to
  be decided by the Court based upon a lodestar.

  Response: Documents are being withheld on the basis of these objections to the requests.

  23.    Any and all correspondence between you and any person who may be called as an

  expert witness or fact witness.
  Objection: This request plainly violates Fed. R. Civ. P. 26(b)(4).

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  Response: Plaintiff is withholding information relevant to this request. All communications

  between Plaintiff’s counsel and her experts are protected as trial preparation materials and
  no communications are excepted pursuant to Fed. R. Civ. P. 26(b)(4)(C) except as will be

  disclosed with the expert reports.

  24.     Curriculum vitae and bibliographies for all of your expert witnesses.

  Objection: This discovery request is premature.

  Response: Plaintiff will produce this information with expert reports.

  25.     All models, exhibits and/or other visual aids that any expert witness may utilize at

  the time of trial.
  Objection: This discovery request is premature.

  Response: Plaintiff will produce this information when required by the rules.

  26.     All published treatises, periodicals, books and/or pamphlets, on any subject matter
  related to this case, that you claim to be reliable authority which may be used at the time of

  the trial.

  Objection: This discovery request is premature.

  Objection: This discovery request seeks the mental impressions of counsel and is privileged
  from discovery under Fed. R. Civ. P. 26(b)(3).

  Objection: This discovery request is intended to harass Plaintiff’s counsel into producing a
  privilege log of all legal research he has conducted on the Fair Credit Reporting Act and Fair
  Debt Collection Practices Act over the past eleven years.

  Response: Plaintiff is withholding information based on this request.
                                       INTERROGATORIES
          Plaintiff has attempted to confer with Defendant regarding the number of

  interrogatories that Defendant has served. Specifically, the Defendant has exceeded the

  number of interrogatories that were permitted to be served under the scheduling order.

  “[W]here a single interrogatory requests disclosure of all information which forms the basis
  for denying requests for admission, each denied request for admission will be considered a

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  separate interrogatory and count against a numerical limit.” Hertz v. Luzenac Am., Inc., Civil

  Action No. 04-cv-1961-LTB-CBS, 2006 U.S. Dist. LEXIS 25945, at *34 (D. Colo. Apr. 13, 2006)
  (citing Safeco of Am. v. Rawstron, 181 F.R.D. 441, 445 (C.D. Cal. 1998); also Wildearth

  Guardians v. Pub. Serv. Co., Civil Action No. 09-cv-01862-ZLW-MEH, 2010 U.S. Dist. LEXIS

  138972, at *9 (D. Colo. Dec. 29, 2010).

         Interrogatory No. 7 states: “If you have denied any portion (or admitted with a

  qualification) any of Defendant’s Requests for Admission propounded to you, please state all

  facts and identify all documents that support each denial.”           As outlined above, this

  interrogatory creates a distinct subpart for each request for admission that is admitted. In
  total, Defendant has served twenty-seven (27) requests for admission. Of those twenty-

  seven (27) requests for admission, including responses to compound requests, Plaintiff has

  denied portions of twenty-eight (28) requests for admission. Consequently, Interrogatory
  No. 7 consists of twenty-eight (28) interrogatories. Together with the ten (10) other

  interrogatories, this exceeds the numerical limitation agreed to by the parties and imposed

  by the Court in the scheduling order.

         Consequently, Plaintiff objects to answering any interrogatory on the grounds that
  objecting and answering each interrogatory would be an undue burden on Plaintiff, drive up

  the costs of litigation, and cause Plaintiff’s counsel to have to object to more interrogatories
  than are permitted by the Court’s scheduling order. As such, Plaintiff objects to answering
  or objecting to all interrogatories until Defendant agrees to limit the total number of

  interrogatories to the limit imposed by the scheduling order: twenty-five.
  ADDITIONAL RESPONSE: After conferral with Defendant’s counsel, the Defendant has agree
  to withdraw the offending interrogatory that caused Defendant to exceed the numerical

  limitation that would have caused Plaintiff and her counsel to object and respond to more

  interrogatories that is permitted by Court order.

  INTERROGATORIES



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  INTERROGATORY NO. 1: Itemize all damages [i.e. statutory, economic/actual, consequential,

  special, exemplary, attorneys’ fees and/or costs] that you contend you have sustained as a result
  of the allegations in the Complaint separated for each Defendant in the Litigation and provide (a)

  the specific injury or category of damages and dollar amount of damages claimed; (b) the basis

  or method used to calculate such amounts; (c) a description of any documentation that you

  contend supports such damages; and (d) the names of all persons, whether lay or expert, who will

  provide testimony supporting each such category of damages.

  OBJECTION: Plaintiff objects to this discovery request on the grounds that it is unduly

  burdensome. This interrogatory effectively calls for Plaintiff to depose herself by providing a
  narrative response itemizing seven different categories of damages and for each category of

  damages to include both the basis of the category of damages, a calculation of the damages, the

  method by which the calculation was made, a narrative description of contentions supporting the
  damages, list of documentation that Plaintiff contends supports the damages, and a list of witness

  who will support the damages. “Indiscriminate use of blockbuster interrogatories, such as these,

  do not comport with the just, speedy, and inexpensive determination of the action. To require

  answers for them would more likely cause delay and unreasonable expense of time, energy, and
  perhaps money.” Bat v. A.G. Edwards & Sons, Inc., Civil Action No. 04-cv-02225-REB-BNB,

  2005 U.S. Dist. LEXIS 47995, at *7 (D. Colo. Nov. 18, 2005) (quoting Hilt v. SFC, Inc., 170
  F.R.D. 182 (D. Kan. 1997).
  OBJECTION: Plaintiff objects to this interrogatory on the grounds that it seeks the mental

  impressions of Plaintiff’s counsel. Whether Plaintiff contends that documentary evidence or
  testimonial witness support a category of damages will necessarily reveal the mental impressions
  of Plaintiff’s counsel.

  OBJECTION: Plaintiff objects to this discovery request on the grounds that it is overly broad.

  Plaintiff seeks punitive damages in this case, and evidence that Defendant has engaged in the

  same pattern and practice is admissible to prove willfulness in this case. This interrogatory, as
  written, would require Plaintiff to itemize each and every document demonstrating that

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  Defendant has a pattern of illegally reporting debts to consumer reporting agencies based on

  thousands of complaints that are publicly available.
  ANSWER: Subject to the objections above, I wrote to the three national consumer reporting

  agencies to dispute information contained in my credit file. I disputed information furnished by

  National Credit Systems, Inc, (the “Debt Collector”) as collection agency for The Connor Group,

  A Real Estate Investment Firm, LLC d/b/a The Connor Group d/b/a Alas Over Lowery [sic]

  Apartments (the “Apartment Complex”). The information provided to the consumer reporting

  agencies by the Debt Collector was incorrect and misleading.

  I went to lease an apartment from the Apartment Complex. I filled out an application, paid an
  application fee, was approved, and signed a lease. After I signed the lease, the Apartment

  Complex added a deposit to the lease that I never agreed to. I told her that was not doable and

  that is when Vikki (now Office Manager) became rude and told me that I have to take the
  apartment, due to signing the lease without the security deposit being disclosed on it. I refused

  to pay this deposit that was added after I had already signed the lease.

  After the Apartment Complex was unwilling to honor the lease that I actually signed, they turned

  over the lease with the deposit to the Debt Collector. I never agreed to the lease with the deposit.
  The Debt Collector then reported to credit that I owed money on this lease. I didn’t. The only

  agreement I ever signed was for an apartment with no deposit. I have never owed any money to
  the Apartment Complex or the Debt Collector because the Apartment Complex refused to lease
  the apartment to me based on the lease I agreed to.

  After the Debt Collector would not remove this inaccurate information from my credit report and
  stop reporting it to the credit bureaus, I had to hire an attorney to fight the Apartment Complex in
  court. I tried to do it as a class action to help other people; I wasn’t able to help others in court

  then, but I’m hoped my dispute would inform the credit bureaus removal of other National Credit

  Systems reporting. While I couldn’t help others because the judge said that my dispute letter was

  not enough to put the Apartment Complex on notice that I was going to sue on behalf of others.
  Ultimately, the Apartment Complex agreed that the lease they turned over to the Debt Collector

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  was void and of no force or effect. The Court entered a judgment declaring that the lease was

  void and of no force or effect. In other words, I didn’t owe any money to the Apartment
  Complex and I didn’t owe any money to the Debt Collector.

  Even though the Apartment Complex had no right to collect any money from me, and the Debt

  Collector had no right to collect any money from me, this was still showing up on my credit

  report. It should not have.

  I attached a copy of the lease, a copy of my complaint against the Apartment Complex, and a

  copy of the Court’s order declaring the lease void. The Debt Collector is an unreliable source, as

  the company has been sued 181 times since January 1, 2020, for violations of consumer
  protection laws, as shown by PACER. They have 6,878 complaints made against them with the

  CFPB. 1,949 of these complaints are for attempting to collect debt that is not owed, and 690 of

  these complaints are about incorrect information on a credit report. They couldn’t even get the
  name of the creditor correct on my report. They even misspelled the name of the Apartment

  Complex. They rely on the same bad source of information if they even look. The Debt

  Collector gets paid for collecting money so they have little incentive to do what is right: stop

  reporting this unfair and improper information. This whole ordeal has caused me emotional
  distress and I think a jury should decide how much that is worth. Despite their inaccuracy, I was

  unable to utilize my credit as I wanted to, and I was made to look like someone who owed
  money that I didn’t owe. National Credit Systems doesn’t care about court orders and just
  ignores what courts say about whether people owe money.

  I even gave the name and phone numbers of everyone who knew something about the lease
  being void, but nothing happened. The Debt Collector should pay statutory damages in the
  maximum amount allowed by statute, punitive and exemplary damages in an amount awarded by

  the jury in an amount consistent with a debt collector who repeatedly refuses to acknowledge the

  validity of court orders and ruins people’s credit by reporting debts that have be declared void by

  a court, damages for emotional distress in an amount to be determined by the jury, and any other
  relief a court can order even if the defendant refuses to acknowledge the validity of a court order.

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  I didn’t know how to deal with this reporting so I contacted my attorney, who helped me write

  the dispute letter. Even with a well drafted letter that specifically told the debt collector why the
  debt being reported was declared void, the Debt Collector ignored what a court said about my

  alleged debt and continued to report an invalid account.

  I wish there was a scientific formula to itemize my damages like you are asking for. I will just

  accept to what the jury has to say.

  INTERROGATORY NO. 2: Please identify all complaints and disputes you made to any person

  or entity related to the Account including the following information: (a) date of each

  communication, (b) recipients of each communication, (c) the substance of such communication,
  including any documents attached to each communication.

  OBJECTION: Attorney client privilege. This interrogatory seeks to invade the attorney client

  privilege by asking Plaintiff to identify each time she complained to any person or entity
  concerning the Account. This would encompass each and every communication over a nearly

  four year period between Plaintiff and her attorneys.

  OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is burdensome and

  intended to harass Plaintiff. Itemizing every single complaint and dispute over a nearly four year
  period would take significant time and resources, particularly where the terms “complaints” and

  “disputes” are not defined.
  OBJECTION: Plaintiff objects to this request on the grounds that it is vague. Specifically, the
  Debt Collector does not define what is meant by “complaints” or “disputes”. For the purposes of

  responding to this interrogatory, Plaintiff will interpret those terms to mean legal complaints and
  disputes under the Fair Credit Reporting Act. Plaintiff will not attempt to identify every time she
  complained to a friend or family member about this Account.

  OBJECTION: Plaintiff objects to this request on the grounds that it seeks information that is not

  proportionate to the needs of the case. Plaintiff’s complaints about the Account also

  encompasses information concerning the illegal manner in which the Debt Collector’s assignor
  caused Plaintiff to attempt to engage in a lease agreement, a complaint that has been already

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  decided by Denver District Court. While the voidness of the subject lease is an issue in this case,

  because a Court declared the lease void, the fact that Defendant’s assignor engaged in illegal fee-
  harvesting is not.

  OBJECTION: Plaintiff objects to this discovery request on the grounds that it is unduly

  burdensome. This interrogatory effectively calls for Plaintiff to depose herself by providing a

  narrative response identifying each and every complaint she made about the illegal credit

  reporting and the Debt Collector’s failure to conduct a reasonable investigation of the inaccurate

  and misleading reporting of the Account.

  ANSWER: Subject to the objections above, I wrote to the three national consumer reporting
  agencies in March of 2023 and to dispute information contained in my credit file. I disputed

  information furnished by National Credit Systems, Inc, (the “Debt Collector”) as collection

  agency for The Connor Group, A Real Estate Investment Firm, LLC d/b/a The Connor Group
  d/b/a Alas Over Lowery [sic] Apartments (the “Apartment Complex”). The information

  provided to the consumer reporting agencies by the Debt Collector was incorrect and misleading.

  I went to lease an apartment from the Apartment Complex. I filled out an application, paid an

  application fee, was approved, and signed a lease. After I signed the lease, the Apartment
  Complex added a deposit to the lease that I never agreed to. I told her that was not doable and

  that is when Vikki (now Office Manager) became rude and told me that I have to take the
  apartment, due to signing the lease without the security deposit being disclosed on it. I refused
  to pay this deposit that was added after I had already signed the lease.

  After the Apartment Complex was unwilling to honor the lease that I actually signed, they turned
  over the lease with the deposit to the Debt Collector. I never agreed to the lease with the deposit.
  The Debt Collector then reported to credit that I owed money on this lease. I didn’t. The only

  agreement I ever signed was for an apartment with no deposit. I have never owed any money to

  the Apartment Complex or the Debt Collector because the Apartment Complex refused to lease

  the apartment to me based on the lease I agreed to.



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  After the Debt Collector would not remove this inaccurate information from my credit report and

  stop reporting it to the credit bureaus, I had to hire an attorney to fight the Apartment Complex in
  court. I tried to do it as a class action to help other people; I wasn’t able to help others in court

  then, but I’m hoped my dispute would inform the credit bureaus removal of other National Credit

  Systems reporting. While I couldn’t help others because the judge said that my dispute letter was

  not enough to put the Apartment Complex on notice that I was going to sue on behalf of others.

  Ultimately, the Apartment Complex agreed that the lease they turned over to the Debt Collector

  was void and of no force or effect. The Court entered a judgment declaring that the lease was

  void and of no force or effect. In other words, I didn’t owe any money to the Apartment
  Complex and I didn’t owe any money to the Debt Collector.

  Even though the Apartment Complex had no right to collect any money from me, and the Debt

  Collector had no right to collect any money from me, this was still showing up on my credit
  report. It should not have.

  I attached a copy of the lease, a copy of my complaint against the Apartment Complex, and a

  copy of the Court’s order declaring the lease void. The Debt Collector is an unreliable source, as

  the company has been sued 181 times since January 1, 2020, for violations of consumer
  protection laws, as shown by PACER. They have 6,878 complaints made against them with the

  CFPB. 1,949 of these complaints are for attempting to collect debt that is not owed, and 690 of
  these complaints are about incorrect information on a credit report. They couldn’t even get the
  name of the creditor correct on my report. They even misspelled the name of the Apartment

  Complex. They rely on the same bad source of information if they even look. The Debt
  Collector gets paid for collecting money so they have little incentive to do what is right: stop
  reporting this unfair and improper information. This whole ordeal has caused me emotional

  distress and I think a jury should decide how much that is worth. Despite their inaccuracy, I was

  unable to utilize my credit as I wanted to, and I was made to look like someone who owed

  money that I didn’t owe. National Credit Systems doesn’t care about court orders and just
  ignores what courts say about whether people owe money.

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  I even gave the name and phone numbers of everyone who knew something about the lease

  being void, but nothing happened.
  I didn’t know how to deal with this reporting so I contacted my attorney, who helped me write

  the dispute letter.

  I wrote in March and May of 2021 to Equifax, Experian, and Trans Union stating that National

  Credit Systems was reporting the Account for the apartment lease and that the deposit was not

  delivered to me and enclosing the lease and e-mails supporting my dispute that I did not owe any

  money to National Credit Systems. Like the six thousand or so people who have complained to

  the CFPB about National Credit Systems, National Credit Systems just ignored the substance of
  the dispute and verified that I owed money that I didn’t owe.

  I wrote to the three credit bureaus in August of 2023 but did not send the letter until September.

  I once again explained that the Court in Denver had declared that I didn’t owe the money. By
  this time, I had already sued National Credit Systems in Denver County Court and after

  removing this case from state court in Denver to federal court, National Credit Systems deleted

  the account from my credit file.

  On May 23, 2023, I called Equifax and Trans Union explaining that I did not owe this debt and
  that a court had declared that this debt was void, which was forwarded to National Credit

  Systems to verify and the National Credit Systems again confirmed that I owed a debt that a
  Court had declared void.
  I sued National Credit Systems in Denver District Court because I was concerned that if this case

  was removed to federal court, then the jury would be from all over the State of Colorado and
  would have to travel great distances to be here when National Credit Systems should have done
  the right thing and just removed this information from my credit file every time that I

  complained about it through Fair Credit Reporting Act process for removing inaccurate and

  misleading information from a credit file.

  INTERROGATORY NO. 3: Please state all facts and identify all documents, recordings or other
  evidence that supports your contention that NCS violated 15 U.S.C. § 1681, et seq. (the

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  “FCRA”) as alleged in the Complaint including an explanation why you contend NCS did not

  perform a reasonable investigation for each of your disputes to the CRAs.
  OBJECTION: Plaintiff objects to this interrogatory on the grounds that it seeks the mental

  impressions of Plaintiff’s counsel. Whether Plaintiff contends that documentary evidence or

  testimonial witness support an element of liability will reveal the mental impressions of

  Plaintiff’s counsel.

  OBJECTION: Plaintiff objects to this discovery request on the grounds that it is unduly

  burdensome. This interrogatory effectively calls for Plaintiff to every single fact and document

  that supports Plaintiff’s claims that NCS violated the FCRA. “Indiscriminate use of blockbuster
  interrogatories, such as these, do not comport with the just, speedy, and inexpensive

  determination of the action. To require answers for them would more likely cause delay and

  unreasonable expense of time, energy, and perhaps money.” Bat v. A.G. Edwards & Sons, Inc.,
  Civil Action No. 04-cv-02225-REB-BNB, 2005 U.S. Dist. LEXIS 47995, at *7 (D. Colo. Nov.

  18, 2005) (quoting Hilt v. SFC, Inc., 170 F.R.D. 182 (D. Kan. 1997).

  ANSWER: Subject to the objections above, National Credit Systems has been sued 181 times

  since January 1, 2020, for violations of consumer protection laws, as shown by PACER. They
  have 6,878 complaints made against them with the CFPB. 1,949 of these complaints are for

  attempting to collect debt that is not owed, and 690 of these complaints are about incorrect
  information on a credit report. National Credit Systems received a detailed dispute letter from
  me that included a court order that stated that I did not owe the obligation that National

  Credit Systems was reporting on my credit. But that Court order didn’t matter to National
  Credit Systems and they just ignored what a Court said about whether I owed money. Rather
  than reading the Order with a Judge’s signature on it, stating that the subject lease was void,

  National Credit Systems didn’t remove the inaccurate credit information from my credit report.

  My understanding from speaking with the credit bureaus and other sources like the internet is

  that the disputes I made and described in my responses to these interrogatories is that the
  disputes were sent to the Debt Collector who is supposed to review the dispute and investigate it.

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  I gave the Debt Collector all the information it needed to confirm that the Denver District Court

  had declared my lease void and of no force and effect. Just reading the documents and my letter
  would let anyone know that reporting the account from the lease was inaccurate and reporting it

  the way the Debt Collector reported it was misleading. I told the Debt Collector who to call and

  provided proof that I did not owe the account. All the information was there, and the Debt

  Collector just needed to read it.

  INTERROGATORY NO. 4: Please list each and every time you have been denied any loan or

  credit, or received less favorable credit or loan terms from January 1, 2019 to present. For each

  such adverse action, provide the date of denial, name of person or company with whom you
  applied for such credit/loan, the amount and purpose of the credit/loan sought, and whether you

  claim such adverse action occurred in whole or in part because of NCS furnish information

  regarding the Account to the CRAs.
  OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is premature as

  discovery is ongoing in this case and has not been completed.

  OBJECTION: Plaintiff objects to this interrogatory on the grounds that it seeks information not

  in the possession, custody, or control of Plaintiff.
  ANSWER: Subject to the objections above, I don’t remember the exact times and dates that I

  was applying for credit. I think my credit reports show when people were accessing my credit,
  and I don’t remember all the details at this point. After my first dispute to NCS, before I had
  obtained a Court order stating that I did not owe any money to National Credit System’s client,

  National Credit Systems continued to report to the three major credit bureaus that I owed money
  that I did not owe. Just like I don’t need to touch a hot stove to know that it’s going to burn me, I
  was chilled from applying for credit to buy a home for myself and my adult disabled child. By

  the time I got a court order stating that I did not owe the money that National Credit Systems was

  trying to collect, I had moved back to Oklahoma despite wanting to stay in Denver to have

  access to better services for my child. I was trying to obtain credit to consolidate some bills and
  for a car. I shopped around online and looked at various advertised rates for loans. These

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  lenders are sophisticated tech companies and rather than doing a hard pull of my credit that, they

  did soft pulls that then resulted in me not being able to get loans at all or loans at the rates
  advertised because National Credit Systems was still showing on my credit file. And since these

  were all soft pulls, these lenders act like I was not shopping for credit and never made an

  application and discouraged me from applying by either not offering me anything or not offering

  me things on the terms provided. Then I applied for a mortgage at the time that National Credit

  Systems was still reporting that I owed money to an apartment complex after a judge had said

  that I don’t. I didn’t get the mortgage because National Credit Systems did not care enough

  about what a judge said to delete this from my credit file. GreatPlains Finance, LLC d/b/a Cash
  Advance Now, a tribal payday lender who will give a loan to practically anyone, also denied my

  application for a loan. WebBank by and through Avant denied my application for a loan even at

  exorbitant rates. I also had to get a car loan and the terms I received were consistent with what
  someone would get if a debt collector who was operating illegally like National Credit Systems

  would get when they have a debt that they don’t owe on their credit report event after a judge

  says the debt is void. The same is true of the loan I got from Prosper. I had to get credit, or no

  credit at all, because National Credit Systems did not care what a judge said when the judge said
  my lease was void.

  INTERROGATORY NO. 5: If you contend that NCS acted willfully to violate any laws in this
  Litigation, and/or willfully harmed you, please explain the factual bases for such contention and
  identify all documents that support such contention.

  OBJECTION: Plaintiff objects to this interrogatory on the grounds that it seeks the mental
  impressions of Plaintiff’s counsel. Whether Plaintiff contends that documentary evidence or
  testimonial witness support an element of liability will reveal the mental impressions of

  Plaintiff’s counsel.

  OBJECTION: Plaintiff objects to this discovery request on the grounds that it is overly broad.

  Plaintiff seeks punitive damages in this case, and evidence that Defendant has engaged in the
  same pattern and practice is admissible to prove willfulness in this case. This interrogatory, as

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  written, would require Plaintiff to itemize each and every document demonstrating that

  Defendant has a pattern of illegally reporting debts to consumer reporting agencies based on
  thousands of complaints that are publicly available and then failing to complete a reasonable

  investigation of those complaints allowing inaccurate or misleading credit information to remain

  (and continue to be reported) on consumer credit reports.

  OBJECTION: Plaintiff objects to this interrogatory on the grounds that it seeks the mental

  impressions of Plaintiff’s counsel. Whether Plaintiff contends that documentary evidence or

  testimonial witness support an element of liability will reveal the mental impressions of

  Plaintiff’s counsel.
  OBJECTION: Plaintiff objects to this discovery request on the grounds that it is unduly

  burdensome. This interrogatory effectively calls for Plaintiff to every single fact and document

  that supports Plaintiff’s claims that NCS violated the FCRA. “Indiscriminate use of blockbuster
  interrogatories, such as these, do not comport with the just, speedy, and inexpensive

  determination of the action. To require answers for them would more likely cause delay and

  unreasonable expense of time, energy, and perhaps money.” Bat v. A.G. Edwards & Sons, Inc.,

  Civil Action No. 04-cv-02225-REB-BNB, 2005 U.S. Dist. LEXIS 47995, at *7 (D. Colo. Nov.
  18, 2005) (quoting Hilt v. SFC, Inc., 170 F.R.D. 182 (D. Kan. 1997).

  ANSWER: Subject to the objections above, National Credit Systems has been sued 181 times
  since January 1, 2020, for violations of consumer protection laws, as shown by PACER. They
  have 6,878 complaints made against them with the CFPB. 1,949 of these complaints are for

  attempting to collect debt that is not owed, and 690 of these complaints are about incorrect
  information on a credit report. National Credit Systems received a detailed dispute letter from
  me that included a COURT ORDER that stated that I did not owe the obligation that National

  Credit Systems was reporting on my credit. But that Court order didn’t matter to National Credit

  Systems and they just ignored what a Court said about whether I owed money. Rather than

  reading the Order with a Judge’s signature on it, stating that the subject lease was void, National
  Credit Systems didn’t remove the inaccurate credit information from my credit report. Court

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  orders matter. This debt collector decided that the court order didn’t matter since it continued to

  report a debt that a Court said was void.
  I should not have even had to have gotten a court order in the first place. I sent letters to the

  credit bureaus before I got the court order that explained that I didn’t owe this debt and National

  Credit Systems just kept reporting it anyways because all they care about is the balance and not

  the substance of the dispute.

  INTERROGATORY NO. 6: Identify the names of all persons that you intend to call at trial of

  this matter and provide the current (and/or last known) address and phone number(s) for such

  persons and the scope of their anticipated testimony in this matter.
  OBJECTION: Objection as to legal conclusion / work product. Defendant’s request seeks to

  have Plaintiff list her witnesses before discovery is completed and before the time that trial

  witnesses are required to be disclosed. This request should be deferred to a pretrial conference.
  ANSWER: Subject to the objections above, I may call the persons listed in my disclosures;

  people who have sued the Debt Collector for the same or similar things; the people listed in the

  Debt Collector’s disclosures; the people who have been deposed or noticed for a deposition;

  anyone who accessed my credit file; anyone who provides a business records certification; and
  anyone who can testify that National Credit Systems has done the same thing to them.

  INTERROGATORY NO. 7: If you have denied any portion (or admitted with a qualification)
  any of Defendant’s Requests for Admission propounded to you, please state all facts and identify
  all documents that support each denial.

  ANSWER: Defendant has withdrawn this interrogatory.
  INTERROGATORY NO. 8: Describe with specificity all communications, written or oral, that
  you have ever had with NCS or any consumer credit reporting agency regarding the Account,

  including in your response the (a) date and time of the communication, (b) manner of all such

  communications (in person, phone, email, text, otherwise), (c) the complete substance of such

  communications, (d) the identity of the persons who participated in, were recipients of, or
  witnessed such communications, and (e) an identification of all documents that constitute, or

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  refer or relate to, such communications (such as notes, calendar, entries, phone or service

  provider statements, call logs, screen shots, etc.).
  OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is cumulative and asks

  essentially the same information that was asked previously.

  OBJECTION: Attorney client privilege. This interrogatory seeks to invade the attorney client

  privilege by asking Plaintiff to identify each time she complained to any person or entity

  concerning the Account. This would encompass each and every communication over a nearly

  four year period between Plaintiff and her attorneys.

  OBJECTION: Plaintiff objects to this discovery request on the grounds that it is unduly
  burdensome. This interrogatory effectively calls for Plaintiff to depose herself by providing a

  narrative response identifying each and every complaint she made about the illegal credit

  reporting and the Debt Collector’s failure to conduct a reasonable investigation of the inaccurate
  and misleading reporting of the Account.

  ANSWER: Subject to the objections above, I wrote to the three national consumer reporting

  agencies in March of 2023 and to dispute information contained in my credit file. I disputed

  information furnished by National Credit Systems, Inc, (the “Debt Collector”) as collection
  agency for The Connor Group, A Real Estate Investment Firm, LLC d/b/a The Connor Group

  d/b/a Alas Over Lowery [sic] Apartments (the “Apartment Complex”). The information
  provided to the consumer reporting agencies by the Debt Collector was incorrect and misleading.
  I went to lease an apartment from the Apartment Complex. I filled out an application, paid an

  application fee, was approved, and signed a lease. After I signed the lease, the Apartment
  Complex added a deposit to the lease that I never agreed to. I told her that was not doable and
  that is when Vikki (now Office Manager) became rude and told me that I have to take the

  apartment, due to signing the lease without the security deposit being disclosed on it. I refused

  to pay this deposit that was added after I had already signed the lease.

  After the Apartment Complex was unwilling to honor the lease that I actually signed, they turned
  over the lease with the deposit to the Debt Collector. I never agreed to the lease with the deposit.

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  The Debt Collector then reported to credit that I owed money on this lease. I didn’t. The only

  agreement I ever signed was for an apartment with no deposit. I have never owed any money to
  the Apartment Complex or the Debt Collector because the Apartment Complex refused to lease

  the apartment to me based on the lease I agreed to.

  After the Debt Collector would not remove this inaccurate information from my credit report and

  stop reporting it to the credit bureaus, I had to hire an attorney to fight the Apartment Complex in

  court. I tried to do it as a class action to help other people; I wasn’t able to help others in court

  then, but I’m hoped my dispute would inform the credit bureaus removal of other National Credit

  Systems reporting. While I couldn’t help others because the judge said that my dispute letter was
  not enough to put the Apartment Complex on notice that I was going to sue on behalf of others.

  Ultimately, the Apartment Complex agreed that the lease they turned over to the Debt Collector

  was void and of no force or effect. The Court entered a judgment declaring that the lease was
  void and of no force or effect. In other words, I didn’t owe any money to the Apartment

  Complex and I didn’t owe any money to the Debt Collector.

  Even though the Apartment Complex had no right to collect any money from me, and the Debt

  Collector had no right to collect any money from me, this was still showing up on my credit
  report. It should not have.

  I attached a copy of the lease, a copy of my complaint against the Apartment Complex, and a
  copy of the Court’s order declaring the lease void. The Debt Collector is an unreliable source, as
  the company has been sued 181 times since January 1, 2020, for violations of consumer

  protection laws, as shown by PACER. They have 6,878 complaints made against them with the
  CFPB. 1,949 of these complaints are for attempting to collect debt that is not owed, and 690 of
  these complaints are about incorrect information on a credit report. They couldn’t even get the

  name of the creditor correct on my report. They even misspelled the name of the Apartment

  Complex. They rely on the same bad source of information if they even look. The Debt

  Collector gets paid for collecting money so they have little incentive to do what is right: stop
  reporting this unfair and improper information. This whole ordeal has caused me emotional

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  distress and I think a jury should decide how much that is worth. Despite their inaccuracy, I was

  unable to utilize my credit as I wanted to, and I was made to look like someone who owed
  money that I didn’t owe. National Credit Systems doesn’t care about court orders and just

  ignores what courts say about whether people owe money.

  I even gave the name and phone numbers of everyone who knew something about the lease

  being void, but nothing happened.

  I didn’t know how to deal with this reporting so I contacted my attorney, who helped me write

  the dispute letter.

  I wrote in March and May of 2021 to Equifax, Eperian, and Trans Union stating that National
  Credit Systems was reporting the Account for the apartment lease and that the deposit was not

  delivered to me and enclosing the lease and e-mails supporting my dispute that I did not owe any

  money to National Credit Systems. Like the six thousand or so people who have complained to
  the CFPB about National Credit Systems, National Credit Systems just ignored the substance of

  the dispute and verified that I owed money that I didn’t owe.

  I wrote to the three credit bureaus in August of 2023 but did not send the letter until September.

  I once again explained that the Court in Denver had declared that I didn’t owe the money. By
  this time, I had already sued National Credit Systems in Denver County Court and after

  removing this case from state court in Denver to federal court, National Credit Systems deleted
  the account from my credit file.
  On May 23, 2023, I called Equifax and Trans Union explaining that I did not owe this debt and

  that a court had declared that this debt was void, which was forwarded to National Credit
  Systems to verify and then National Credit Systems again confirmed that I owed a debt that a
  Court had declared void.

  INTERROGATORY NO. 9: To the extent you intend to offer any expert opinion or lay opinion

  pursuant to FED. R. EVID. 701, please identify the witness, the substance of the opinion and the

  information relied upon to support the opinion.



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  OBJECTION: Objection as to legal conclusion / work product. Defendant’s request seeks to

  have Plaintiff list her witnesses before discovery is completed and before the time that trial
  witnesses are required to be disclosed. This request should be deferred to a pretrial conference.

  OBJECTION: Plaintiff objects to this request to the extent that it is cumulative and not the

  proper subject of an interrogatory to a party. Instead, the proper disclosure of expert witnesses is

  governed by Fed. R. Civ. P. 26.

  ANSWER: I may call the people that I have listed in my disclosures.

  INTERROGATORY NO. 10: If you are claiming any mental anguish or emotional distress was

  caused by NCS’s conduct, identify any and all persons from whom you sought or received any
  examination or treatment.

  ANSWER: Subject to the objections above, When NCS ignored a court order and kept reporting

  false credit information on my credit report, I did not seek or receive any treatment even though
  a Court had said that I don’t owe any money on the lease that NCS continued to report.

  INTERROGATORY NO. 11: Identify any and all medications that you have taken since January

  1, 2021 (including the dosage and reasons for such medication) regardless of whether such

  mediation [sic]is prescription or over the counter.
  OBJECTION: Plaintiff objects to this interrogatory on the grounds that it is asking for all

  medications that Plaintiff takes regardless of whether it is related to a claim in this case, and is
  therefore, irrelevant and disproportionate to the needs of this case.
  ANSWER: Subject to the objections above, I don’t remember exactly when it started, but I take

  Tylenol PM, every night, two tablets. I need it to sleep because I know that Court Orders don’t
  matter to companies like National Credit Systems, who just ignore them and go right on
  destroying people’s credit like what a Court says doesn’t matter.



                                    REQUESTS FOR ADMISSIONS
           Plaintiff objects and responds to Defendant’s requests for admission as follows:
         1.      Admit that you did not complain directly to The Connor Group about NCS

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  furnishing information about the Account to the CRAs after January 30, 2023.

         Objection: Ms. Miller objects to this request for admission on the grounds that it is
  not relevant to any issue in this case. Neither the Fair Credit Reporting Act nor the Fair Debt

  Collection Practices Act requires or contemplates that a consumer with inaccurate

  information on her credit report must notify the original creditor when the debt being

  collected is being reported to the consumer reporting agencies by a third-party debt

  collector like NCS. Moreover, neither the Fair Credit Reporting Act nor the Fair Debt

  Collection Practices Act addresses “complaints” as that term is used by this discovery

  request. Both deal with “disputes”.
         Response: Admit that Ms. Miller sent a dispute letter to NCS using the proper

  procedure required by the Fair Credit Reporting Act, and NCS sent that letter to The Connor

  Group as would be expected of a third-party debt collector such as NCS. Specifically, Ms.
  Miller disputed the completeness or accuracy of the information that NCS was reporting to

  Equifax, Experian, and Trans Union by sending a detailed letter to each of these three credit

  bureaus in accordance with 15 U.S.C. § 1681i(a)(1)(A). This dispute letter contained not

  only a detailed account of the dispute, but also a copy of the judgment declaring the Account
  void and providing that Ms. Miller did not owe any amount on the subject lease. It also

  contained a complaint describing the basis upon which Ms. Miller did not owe the Account.
  As required by 15 U.S.C. § 1681i(a)(2)(A), Experian and Trans Union provided notice of that
  dispute, together with the dispute letter containing the contact information for the Original

  Creditor, the Original Creditor’s attorneys Greg Ostfeld and Lindsay Aherne, and the
  Apartment Complex Property Manager.           Similarly, Ms. Miller disputed the debt by
  telephone, and those disputes were sent from the relevant consumer reporting agency

  directly to NCS. Denied to all respects not admitted above.

         2.     After January 30, 2023, you did not inform Greg Ostfeld at Greenberg Traurig

  that NCS continued to furnish information about the Account to the CRAs.
         Objection: Ms. Miller objects to this request for admission on the grounds that it is

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  not relevant to any issue in this case. Neither the Fair Credit Reporting Act nor the Fair Debt

  Collection Practices Act requires or contemplates that a consumer with inaccurate
  information on her credit report must notify the original creditor when the debt being

  collected is being reported to the consumer reporting agencies by a third-party debt

  collector like NCS. Moreover, neither the Fair Credit Reporting Act nor the Fair Debt

  Collection Practices Act addresses “informing” the original, non-reporting, non-creditor’s

  attorney, as that term is used by this discovery request. Both deal with “disputes”.

         Response: Admit that Ms. Miller sent a dispute letter to NCS using the proper

  procedure required by the Fair Credit Reporting Act, and NCS sent that letter to The Connor
  Group as would be expected of a third-party debt collector such as NCS. Specifically, Ms.

  Miller disputed the completeness or accuracy of the information that NCS was reporting to

  Equifax, Experian, and Trans Union by sending a detailed letter to each of these three credit
  bureaus in accordance with 15 U.S.C. § 1681i(a)(1)(A). This dispute letter contained not

  only a detailed account of the dispute, but also a copy of the judgment declaring the Account

  void and providing that Ms. Miller did not owe any amount on the subject lease. It also

  contained a complaint describing the basis upon which Ms. Miller did not owe the Account.
  As required by 15 U.S.C. § 1681i(a)(2)(A), Experian and Trans Union provided notice of that

  dispute, together with the dispute letter containing the contact information for the Original
  Creditor, the Original Creditor’s attorneys Greg Ostfeld and Lindsay Aherne, and the
  Apartment Complex Property Manager.           Similarly, Ms. Miller disputed the debt by

  telephone, and those disputes were sent from the relevant consumer reporting agency
  directly to NCS. Denied to all respects not admitted above.
         3.     After January 30, 2023, you did not inform Lindsay Aherne at Greenberg

  Traurig that NCS continued to furnish information about the Account to the CRAs.

         Objection: Ms. Miller objects to this request for admission on the grounds that it is

  not relevant to any issue in this case. Neither the Fair Credit Reporting Act nor the Fair Debt
  Collection Practices Act requires or contemplates that a consumer with inaccurate

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  information on her credit report must notify the original creditor when the debt being

  collected is being reported to the consumer reporting agencies by a third-party debt
  collector like NCS. Moreover, neither the Fair Credit Reporting Act nor the Fair Debt

  Collection Practices Act addresses “informing” the original, non-reporting, non-creditor’s

  attorney, as that term is used by this discovery request. Both deal with “disputes”.

         Response: Admit that Ms. Miller sent a dispute letter to NCS using the proper

  procedure required by the Fair Credit Reporting Act, and NCS sent that letter to The Connor

  Group as would be expected of a third-party debt collector such as NCS. Specifically, Ms.

  Miller disputed the completeness or accuracy of the information that NCS was reporting to
  Equifax, Experian, and Trans Union by sending a detailed letter to each of these three credit

  bureaus in accordance with 15 U.S.C. § 1681i(a)(1)(A). This dispute letter contained not

  only a detailed account of the dispute, but also a copy of the judgment declaring the Account
  void and providing that Ms. Miller did not owe any amount on the subject lease. It also

  contained a complaint describing the basis upon which Ms. Miller did not owe the Account.

  As required by 15 U.S.C. § 1681i(a)(2)(A), Experian and Trans Union provided notice of that

  dispute, together with the dispute letter containing the contact information for the Original
  Creditor, the Original Creditor’s attorneys Greg Ostfeld and Lindsay Aherne, and the

  Apartment Complex Property Manager.           Similarly, Ms. Miller disputed the debt by
  telephone, and those disputes were sent from the relevant consumer reporting agency
  directly to NCS. Denied to all respects not admitted above.

         4.     After January 30, 2023, you did not inform The Connor Group that NCS
  continued to furnish information about the Account to the CRAs.
         Objection: Ms. Miller objects to this request for admission on the grounds that it is

  not relevant to any issue in this case. Neither the Fair Credit Reporting Act nor the Fair Debt

  Collection Practices Act requires or contemplates that a consumer with inaccurate

  information on her credit report must notify the original creditor when the debt being
  collected is being reported to the consumer reporting agencies by a third-party debt

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  collector like NCS. Moreover, neither the Fair Credit Reporting Act nor the Fair Debt

  Collection Practices Act addresses “informing” the original, non-reporting, non-creditor, as
  that term is used by this discovery request. Both deal with “disputes”.

         Response: Admit that Ms. Miller sent a dispute letter to NCS using the proper

  procedure required by the Fair Credit Reporting Act, and NCS sent that letter to The Connor

  Group as would be expected of a third-party debt collector such as NCS. Specifically, Ms.

  Miller disputed the completeness or accuracy of the information that NCS was reporting to

  Equifax, Experian, and Trans Union by sending a detailed letter to each of these three credit

  bureaus in accordance with 15 U.S.C. § 1681i(a)(1)(A). This dispute letter contained not
  only a detailed account of the dispute, but also a copy of the judgment declaring the Account

  void and providing that Ms. Miller did not owe any amount on the subject lease. It also

  contained a complaint describing the basis upon which Ms. Miller did not owe the Account.
  As required by 15 U.S.C. § 1681i(a)(2)(A), Experian and Trans Union provided notice of that

  dispute, together with the dispute letter containing the contact information for the Original

  Creditor, the Original Creditor’s attorneys Greg Ostfeld and Lindsay Aherne, and the

  Apartment Complex Property Manager.           Similarly, Ms. Miller disputed the debt by
  telephone, and those disputes were sent from the relevant consumer reporting agency

  directly to NCS. Denied to all respects not admitted above.
         5.     After January 30, 2023, you did not inform Alas Over Lowery [sic] that NCS
  continued to furnish information about the Account to the CRAs.

         Objection: Ms. Miller objects to this request for admission on the grounds that it is
  not relevant to any issue in this case. Neither the Fair Credit Reporting Act nor the Fair Debt
  Collection Practices Act requires or contemplates that a consumer with inaccurate

  information on her credit report must notify the original creditor when the debt being

  collected is being reported to the consumer reporting agencies by a third-party debt

  collector like NCS. Moreover, neither the Fair Credit Reporting Act nor the Fair Debt
  Collection Practices Act addresses “informing” the original, non-reporting, non-creditor, as

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  that term is used by this discovery request. Both deal with “disputes”.

         Response: Admit that Ms. Miller sent a dispute letter to NCS using the proper
  procedure required by the Fair Credit Reporting Act, and NCS sent that letter to The Connor

  Group as would be expected of a third-party debt collector such as NCS. Specifically, Ms.

  Miller disputed the completeness or accuracy of the information that NCS was reporting to

  Equifax, Experian, and Trans Union by sending a detailed letter to each of these three credit

  bureaus in accordance with 15 U.S.C. § 1681i(a)(1)(A). This dispute letter contained not

  only a detailed account of the dispute, but also a copy of the judgment declaring the Account

  void and providing that Ms. Miller did not owe any amount on the subject lease. It also
  contained a complaint describing the basis upon which Ms. Miller did not owe the Account.

  As required by 15 U.S.C. § 1681i(a)(2)(A), Experian and Trans Union provided notice of that

  dispute, together with the dispute letter containing the contact information for the Original
  Creditor, the Original Creditor’s attorneys Greg Ostfeld and Lindsay Aherne, and the

  Apartment Complex Property Manager.           Similarly, Ms. Miller disputed the debt by

  telephone, and those disputes were sent from the relevant consumer reporting agency

  directly to NCS. Denied to all respects not admitted above.
         6.     After January 30, 2023, your attorney did not inform the attorneys

  representing The Connor Group in the Connor Group Litigation that NCS continued to
  furnish information about the Account to the CRAs.
         Objection: Ms. Miller objects to this request for admission on the grounds that it is

  not relevant to any issue in this case. Neither the Fair Credit Reporting Act nor the Fair Debt
  Collection Practices Act requires or contemplates that a consumer with inaccurate
  information on her credit report must notify the original creditor when the debt being

  collected is being reported to the consumer reporting agencies by a third-party debt

  collector like NCS. Moreover, neither the Fair Credit Reporting Act nor the Fair Debt

  Collection Practices Act addresses “informing” the original, non-reporting, non-creditor’s
  attorney, as that term is used by this discovery request. Both deal with “disputes”.

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         Response: Admit that Ms. Miller sent a dispute letter to NCS using the proper

  procedure required by the Fair Credit Reporting Act, and NCS sent that letter to The Connor
  Group as would be expected of a third-party debt collector such as NCS. Specifically, Ms.

  Miller disputed the completeness or accuracy of the information that NCS was reporting to

  Equifax, Experian, and Trans Union by sending a detailed letter to each of these three credit

  bureaus in accordance with 15 U.S.C. § 1681i(a)(1)(A). This dispute letter contained not

  only a detailed account of the dispute, but also a copy of the judgment declaring the Account

  void and providing that Ms. Miller did not owe any amount on the subject lease. It also

  contained a complaint describing the basis upon which Ms. Miller did not owe the Account.
  As required by 15 U.S.C. § 1681i(a)(2)(A), Experian and Trans Union provided notice of that

  dispute, together with the dispute letter containing the contact information for the Original

  Creditor, the Original Creditor’s attorneys Greg Ostfeld and Lindsay Aherne, and the
  Apartment Complex Property Manager.            Similarly, Ms. Miller disputed the debt by

  telephone, and those disputes were sent from the relevant consumer reporting agency

  directly to NCS. Denied to all respects not admitted above.

         7.     On March 23, 2023, you knew that the Court in the Connor Group Litigation
  declared that You did not owe any money to The Connor Group.

         Response: Admit.
         8.     Your attorney prepared your March 23, 2023 dispute letter to Trans Union.
         Objection: Plaintiff objects to this discovery request on the grounds that it seeks to

  invade the attorney-client privilege.
         Response: Admit only that Ms. Miller “didn’t know how to deal with this reporting so
  I contacted my attorney, who helped me write this letter. But the dispute is coming directly

  from me. If you need any additional information, or if anything in this letter is unclear, please

  contact me at ladyinnursing@yahoo.com or 405-590-6390. Please send the results of the

  dispute, and a copy of my file, to me at the address listed above.” Plaintiff therefore admits
  that she didn’t know how to deal with this reporting so she contacted her attorney, who

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  helped her write the dispute letter. Ms. Miller denies any request for admission inconsistent

  with the statement she made in the letter she sent to the three national consumer reporting
  agencies, which attached a copy of the judgment stating that Ms. Miller did not owe any

  money on the lease that NCS, the Defendant, was trying to collect.

         9.     Your attorney decided what documents to attach to your March 23, 2023

  dispute letter to Trans Union.

         Objection: Plaintiff objects to this discovery request on the grounds that it seeks to

  invade the attorney-client privilege.

         Response: Admit only that Ms. Miller “didn’t know how to deal with this reporting so
  I contacted my attorney, who helped me write this letter. But the dispute is coming directly

  from me. If you need any additional information, or if anything in this letter is unclear, please

  contact me at ladyinnursing@yahoo.com or 405-590-6390. Please send the results of the
  dispute, and a copy of my file, to me at the address listed above.” Plaintiff therefore admits

  that she didn’t know how to deal with this reporting so she contacted her attorney, who

  helped her write the dispute letter. Ms. Miller denies any request for admission inconsistent

  with the statement she made in the letter she sent to the three national consumer reporting
  agencies, which attached a copy of the judgment stating that Ms. Miller did not owe any

  money on the lease that NCS, the Defendant, was trying to collect.
         10.    Your attorney prepared your March 23, 2023 dispute letter to Experian.
  Objection: Plaintiff objects to this discovery request on the grounds that it seeks to invade

  the attorney-client privilege.
         Response: Admit only that Ms. Miller “didn’t know how to deal with this reporting so
  I contacted my attorney, who helped me write this letter. But the dispute is coming directly

  from me. If you need any additional information, or if anything in this letter is unclear, please

  contact me at ladyinnursing@yahoo.com or 405-590-6390. Please send the results of the

  dispute, and a copy of my file, to me at the address listed above.” Plaintiff therefore admits
  that she didn’t know how to deal with this reporting so she contacted her attorney, who

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  helped her write the dispute letter. Ms. Miller denies any request for admission inconsistent

  with the statement she made in the letter she sent to the three national consumer reporting
  agencies, which attached a copy of the judgment stating that Ms. Miller did not owe any

  money on the lease that NCS, the Defendant, was trying to collect.

         11.    Your attorney decided what documents to attach to your March 23, 2023

  dispute letter to Experian.

         Objection: Plaintiff objects to this discovery request on the grounds that it seeks to

  invade the attorney-client privilege.

         Response: Admit only that Ms. Miller “didn’t know how to deal with this reporting so
  I contacted my attorney, who helped me write this letter. But the dispute is coming directly

  from me. If you need any additional information, or if anything in this letter is unclear, please

  contact me at ladyinnursing@yahoo.com or 405-590-6390. Please send the results of the
  dispute, and a copy of my file, to me at the address listed above.” Plaintiff therefore admits

  that she didn’t know how to deal with this reporting so she contacted her attorney, who

  helped her write the dispute letter. Ms. Miller denies any request for admission inconsistent

  with the statement she made in the letter she sent to the three national consumer reporting
  agencies, which attached a copy of the judgment stating that Ms. Miller did not owe any

  money on the lease that NCS, the Defendant, was trying to collect.
         12.    Admit that you have not sustained and are not seeking any out-of-pocket
  financial damages in this case.

         Response: Denied.
         13.    Admit that you have not lost any money as a result of the conduct of NCS
  alleged in your Complaint.

         Response: Denied.

         14.    Admit that you have not sustained and are not seeking damages for any

  physical harm or symptoms in this case.
         Objection: Ms. Miller is unable to respond to this request because it is not clear what

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  is meant by “physical harm or symptoms in this case.” It is not clear what Defendant means

  by this, and Defendant has been unwilling to schedule a time to discuss this on the phone.
  Additionally, the prepositional phrase “in this case” modifies the preceding nouns “physical

  harm or symptoms”, and Plaintiff is not claiming from damages “in this case” and instead, is

  seeking damages for Defendant’s failure to comply with the Fair Debt Collection Practices

  Act and the Fair Credit Reporting Act.

         Response: If Defendant intended the prepositional phrase to be a distant modifier of

  the word “seeking” (which would have been cleared up by a phone call that Defendant’s

  counsel has not been willing to have), then Plaintiff would state that she is, in fact, seeking
  damages for the physical manifestations of the emotional distress that she suffered when

  NCS continued to harm her credit even after a judge said she did not owe any money and

  violated federal law.
         15.    Admit that you have not received any medical treatment as a result of the

  conduct of NCS alleged in your Complaint.

         Objection: The phrase, “medical treatment”, is vague and undefined as used in this

  request for admission. Because Defendant’s counsel has refused to have a meet and confer
  to discuss the meaning of medical treatment, including whether that involves non-physician

  directed treatment. Accordingly, Plaintiff will apply the broadest possible definition of
  medical treatment in responding to this request, including self-help medical treatment.
         Response: NCS, the Defendant, failed to comply with federal law and harmed Ms.

  Miller’s credit standing and caused her emotional distress, for which she obtained medical
  treatment.
         16.    Admit that you have not sustained [sic] are not claiming any damage to your

  reputation in this case as a result of the conduct of NCS alleged in your Complaint.

         Objection: Plaintiff objects to this request for admission on the grounds that it is

  compound. Specifically, it asks whether Plaintiff (1) sustained damages and (2) whether
  she is claiming damages. Consequently, this request for admission constitutes two separate

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  requests for admission.

         Response: Denied.
         17.    Admit that you have not sustained and are not claiming any damages for

  emotional distress in this case as a result of the conduct of NCS alleged in your Complaint.

         Objection: Plaintiff objects to this request for admission on the grounds that it is

  compound. Specifically, it asks whether Plaintiff (1) sustained damages and (2) whether

  she is claiming damages. Consequently, this request for admission constitutes two separate

  requests for admission.

         Response: Denied.
         18.    Admit that you have not sustained and are not claiming any damages for

  mental anguish in this case as a result of the conduct of NCS alleged in your Complaint.

         Objection: Plaintiff objects to this request for admission on the grounds that it is
  compound. Specifically, it asks whether Plaintiff (1) sustained damages and (2) whether

  she is claiming damages. Consequently, this request for admission constitutes two separate

  requests for admission.

         Response: Denied.
         19.    Admit that you have not taken nor been prescribed any medications as a

  result of the conduct of NCS alleged in your Complaint.
         Objection: Plaintiff objects to this request for admission on the grounds that it is
  compound. Specifically, it asks whether Plaintiff (1) has taken medications and (2) whether

  she was prescribed medications. Consequently, this request for admission constitutes two
  separate requests for admission.
         Response: Denied as to taken, admitted as to prescribed.

         20.    Admit that you have not taken any over-the-counter medications as a result

  of the conduct of NCS alleged in your Complaint.

         Response: Denied.
         21.    Admit that NCS did not violate the Fair Credit Reporting Act or any other laws

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  in its handling of your Account.

         Response: Denied.
         22.    Admit that NCS did not act to willfully violate the Fair Credit Reporting Act or

  any other laws in its handling of your Account.

         Response: Denied.

         23.    Admit that you do not have any documents evidencing that you have suffered

  any emotional and/or mental anguish damages.

         Response: Denied.

         24.    Admit that, excluding attorney’s fees, costs and interest, admit that you are
  seeking only statutory damages in this case.

         Response: Denied.

                25.     Admit that you have suffered no out-of-pocket expenses as a result of
  any action by NCS.

         Response: Denied.

                26.     Admit that you have paid no attorney’s fees in relation to this Litigation.

         Objection: Plaintiff objects to this request as irrelevant.
         Response: Plaintiff will not respond to this irrelevant request.

                27.     Admit that you have paid no costs in relation to this Litigation.
         Response: Denied.
  Dated: May 3, 2024

                                                      Respectfully submitted,
                                                      As to Objections:
                                                      Vedra Law LLC

                                                      /s/ Daniel J. Vedra
                                                      Daniel J. Vedra
                                                      Vedra Law LLC
                                                      1444 Blake Street
                                                      Denver, CO 80202

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                                           Attorneys for Plaintiff

                                           As to Answers to Interrogatories:


                                           Zepherine Miller




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the date first written above the foregoing was served by e-
  mail by agreement of the parties on:

  John W. Bowdich
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                                                           /s/ Daniel J. Vedra
                                                           Daniel J. Vedra


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